   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 1 of 105




                       UNITED STATES DISTRICT COURT

                 FOR THE EASTERN DISTRICT OF LOUISIANA


CATHERINE BROWN                                          CIVIL No.        21-1844

versus                                                   JUDGE:            JTM

MINYANGO TOKPAH, SHAKIM HARRIS,                          MAGIS:           JVM
TANISHA WRIGHT, ANDREA MICHELLE
STEWART, JONTE MILLER, and
THERESA D. BRUNSON


                    Second Supplemental and Amending
                      Complaint/Petition for Damages


    The Second Supplemental and Amending Complaint/Petition for Damages of

CATHERINE BROWN, a person of the full age of majority, formerly domiciled in the

State of Delaware at the original filing of this litigation, and as of November 27, 2021

now domiciled and permanent resident of the State of Louisiana, who brings this

litigation for immediate relief pursuant to Louisiana tort law, which by federal law is

properly brought in this Federal District Court due to Complete Diversity Jurisdiction

between the respective opposing parties, and with the torts alleged and damages

losses incurred by Petitioner alleged have occurred while Petitioner was located

within the State of Louisiana and Eastern District.

      This amending petition asserts civil claims offer clarified and more definitive

sets of inter-related claims and causes of action against each existing and previous

defendant, against certain additional defendants, and is additionally filed in response

to the recent Orders of the Court that the Petitioner file the same (Rec. Doc. Nos. 43


                                                                                           1
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 2 of 105




and 44.)

       Petitioner’s causes of action, as well as her damages, losses, and injuries

directly related to the named and unnamed defendant individuals’ and entities’

continual and ongoing pattern of the defendants engaging in and targeting your

Petitioner an intentional and ongoing pattern of their cyber stalking, harassment,

defamation, threats to her life and safety, some incidents of actual physical stalking

and intimidation, and the defendants’ intentional infliction of emotional distress upon

Petitioner resultant from the defendants’ online attacks and harassment of her, and

other such crimes and civil tortuous acts committed by those defendants as

described below, and which includes repeated and continuous episodes of these

intimidation and threats that are both federal and state crimes, as well as civilly

tortuous acts of the named defendants here, who are original identified defendants

MINYANGO TOKPAH, SHAKIM HARRIS, TANISHA PRICE, ANDREA MICHELLE

STEWART, JONTE MILLER, and THERESA D. BRUNSON, as well as those newly

added defendants ANTHONY OKAFOR, DONALD MURRAY, ORACLE THE

VINTAGE GARDEN® SINCE 2015, REVERAND GERALD PALMER, and the ANTI

FRAUD WARRIORS, LLC, as well as those actors heretofore unidentified defendants

as described below, with the defendants’ tortuous acts damaging the Petitioner

having began in the month of October, 2020 and commences and has repeatedly

plagued, upset and damaged Petitioner through this date of April 22, 2022, and

again, with many of these episodes experienced and endured by Petitioner

CATHERINE BROWN while residing and/or located in the Eastern District of

Louisiana, said locations included within the district of this Court.



                                                                                          2
    Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 3 of 105




      Petitioner files here her second amending Complaint to 1.) add additional

individual defendants by name here; 2.) include additional episodes of tortuous

activity in this second amending Complaint, 3.) re-naming as a defendant here the

original defendant THERESA D. BRUNSON, by Petitioner citing and asserting claims

for additional episodes of torts and intentional infliction of emotional distress

committed by this defendant, who was as a defendant recently dismissed, without

prejudice, from this litigation by this Court relative to the Petitioner’s original claims

asserted in previous Petitions/Complaints (Rec. Doc. 43), as well as to offer better

identification of those entities sued here, a clarification of those legal claims brought

by Petitioner against those named defendants and the factual grounds supporting

each particular claim, and the relief or compensation sought by the Petitioner here in

this litigation.

        Petitioner, in an abundance of caution, re-asserts all actionable claims brought

against these named defendants in her previous Petitions/Complaints not dismissed

or found not actionable by this Court’s previous orders, incorporating those particular

claims, as well as those set forth here, in her larger causes of action.



                            STATEMENT OF JURISDICTION

      The Jurisdiction for this litigation to proceed in this Court is complete Diversity

Jurisdiction, as Petitioner and all defendants are domiciled, and reasonably believed

domiciled, in separate States, as delineated below.

      Additionally, Petitioner’s claims involve state law tort claims exceeding a

quantum value of $75,000.00 and involving complete diversity of citizenship of the



                                                                                             3
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 4 of 105




plaintiff and all defendants, and Petitioner in good faith seeks civil damages and relief

from this Federal Court.

      Petitioner re-asserts here that the original defendant TANISHA WRIGHT is

domiciled and a resident of the State of Pennsylvania, and not Delaware, as asserted

by Petitioner in her previous Petitions/Complaints, and which is re-asserted here in

this amending Petition/Complaint. Petitioner in her December, 2021 TRO/Injunction

Hearing misspoke before the Court and miss-stated that this defendant was a

Delaware domicile, which rightly would defeat Diversity Jurisdiction for this particular

defendant here. Petitioner clarifies her previous miss-statement made in her Hearing

Appearance testimony, and re-asserts and claims here that defendant TANISHA

WRIGHT is indeed a Pennsylvania domiciled citizen subject to the jurisdiction of this

Court and this litigation.

      Petitioner seeks relief and general civil proceedings against all defendant,

pursuant to all other applicable federal laws and criminal and civil codes, as well as

all other applicable State of Louisiana criminal and civil laws and statues governing

the claims and relief sought by Petitioner here, again, with her claims for the most

part made pursuant to Louisiana tort law, but which are subject to Removal to

Federal Court due to Complete Diversity of all parties, together with Petitioner’s

claims in good faith asserted by her to exceed $75,000.00 in quantum value, thus

subjecting these claims to rightly be litigated in this Federal District Court due to

Complete Diversity of all parties.

      Petitioner, again, additionally and in Good Faith asserts here that the quantum

value of her civil claims against EACH particular defendant, does in fact exceed the



                                                                                           4
    Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 5 of 105




$75,000.00 quantum value threshold necessary for United States District Court

jurisdiction, in this diversity jurisdiction set of claims.

                                               I.

       The following are made and maintained as defendants in this suit and are

indebted unto your petitioner jointly, severally, and in solido for such damages as are

reasonably equitable, together with legal interest thereon from the date of judicial

demand until paid:



   A. MINYANGO TOKPAH, a person reasonably believed of the full age of majority

       and also reasonably believed known as “FREDERICK JALLAH” and/or

       conducting business as “Poetik Flakko Media”, and/or “Poetik Flakko”, and/or

       any other business, believed located and domiciled within the State of North

       Dakota, and more particularly at the address of 102 5th Street E, Apt. 5, West

       Fargo, ND 5807, and the person who personally, or through others affiliated

       with himself or his business, intentionally the continual and ongoing pattern of

       cyber stalking, harassment, defamation, threats to Petitioner’s life and safety,

       and other cyber and online harassment, such crimes and civil tortuous acts

       committed by those defendants as described below;

   B. SHAKIM HARRIS, a person reasonably believed of the full age of majority

       believed located and domiciled within the State of Michigan, and more

       particularly at two Michigan addresses, of both of 15488 Winston Street,

       Redford, Michigan 48239, and also at 7722 Heyden Street, Detroit, MI 48228,

       and the person who personally, or through others affiliated with himself or



                                                                                          5
Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 6 of 105




  his business, intentionally the continual and ongoing pattern of cyber stalking,

  harassment, defamation, threats to Petitioner’s life and safety, and other cyber

  and online harassment, such crimes and civil tortuous acts committed by

  those defendants as described below;

C. TANISHA WRIGHT, and also reasonably believed known as TANISHA

  SMITH-PRICE, TANISHA LYNN PRICE and/or TANISHA PRICE, and

  posting online as “Black Lounge Entertainment”, and/or “TPRI”, a person

  reasonably believed of the full age of majority, believed located and domiciled

  within the State of Pennsylvania, more particularly 5929 Windsor Avenue,

  Philadelphia, PA 19143, based upon Google address searches and this

  defendant’s own Facebook postings made as recently as October 10, 2021.

  Additional Facebook recent postings have this defendant residing in the City

  of Harrisburg, PA. This defendant is also known as or conducting business

  and making online postings or broadcasts using the identifier of “Black Lounge

  Entertainment”, “TPRI”, “Tanisha Lynn Price”, and Petitioner asserts here that

  this defendant has personally, or through direction and incitement of others

  affiliated with herself or her business personas, has intentionally engaged in

  a continual and ongoing pattern of cyber stalking, harassment, defamation,

  threats to Petitioner’s life and safety, and other cyber and online harassment,

  such crimes and civil tortuous acts committed by those defendants as

  described below;

D. ANDREA MICHELLE STEWART, (“STEWART”), a person reasonably

  believed of the full age of majority, believed located and domiciled within the



                                                                                    6
Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 7 of 105




  State of California, and more particularly believed located at 2840

  FLETCHER PARKWAY, # 323, El Cajon, CA 92020, with this same defendant

  STEWART listed in the State of California Secretary of State Business Listings

  as the Chief Executive Officer and the only legally revealed and identified

  business member of the “ANTI FRAUD WARRIORS, LLC” (“AFW”) the

  California Limited Liability Corporation, with the business using he same actual

  address as defendant STEWART’s listed domicile address. This individual

  defendant STEWART is identified and alleged here by your Petitioner here as

  having engaged, as both in her name as in additional settings and episodes as

  “AFW”, and additionally, in using the online broadcast identity of the “ANTI

  AFRICAN SVENGALIS” and/or the “Anti Afro Svengalis Channel”, another

  YouTube - Internet online broadcast channel, with this defendant STEWART

  undertaking a series of internet broadcasts on YouTube and in numerous

  internet panel discussions, comments and attacks upon Petitioner, which since

  October, 2020 through the present month of April, 2022, that have continued

  in an ongoing pattern of cyber stalking, harassment, defamation, and threats

  to Petitioner’s peace, life and safety, amounting to an intentional infliction of

  emotional distress by this defendant upon the Petitioner, with STEWART

  intentionally engaged the continual and ongoing pattern of online and

  broadcasted cyber stalking, harassment, defamation, threats to your

  Petitioner’s peace, reputation, life and safety, intentional infliction of emotional

  distress and intentionally engaged in other cyber and online harassment,

  crimes and civilly tortuous acts committed by himself and against the



                                                                                      7
Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 8 of 105




   Petitioner in alignment with those other defendants as described herein,

   causing damage to her in the particulars as alleged herein;

E. JONTE MILLER, a person reasonably believed of the full age of majority,

   believed located and domiciled within the State of North Carolina, and more

   particularly believed located 2006 Cedar Fork Road, Apartment “E”,

   Greensboro, NC 27407-4591, and also known as or conducting business as

   the “SMOKEGOD”, a YouTube or Internet online broadcast channel, and/or

   any other businesses, all, and the person who personally, or through others

   affiliated with himself or his business, for YouTube or Internet online

   broadcast channels, and/or any other businesses or entities operated or

   participated in by this person, who personally, or through others affiliated

   with himself or his businesses, intentionally engaged in a continual and

   ongoing pattern of cyber stalking, harassment, defamation, threats to your

   Petitioner’s peace, reputation, life and safety, intentional infliction of emotional

   distress and intentionally engaged in other cyber and online harassment,

   crimes and civilly tortuous acts committed by himself and against the

   Petitioner in alignment with those other defendants as described herein,

   causing damage to her in the particulars as alleged herein;

F. THERESA D. BRUNSON, re-named as a defendant here after this Court’s

   dismissal of this defendant here without prejudice on April 8, 2022 (Rec. Doc.

   43), a person reasonably believed of the full age of majority, believed located

   and domiciled within the State of Pennsylvania, and more particularly

   believed located 6101 Limekiln Pike, Suite 1000, Giving of Self Partnership



                                                                                      8
Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 9 of 105




  Building, Philadelphia, PA 19141, and also known and presenting herself as

  the legal representative of heretofore unidentified online actor “TCTV”, whose

  behavior and tortuous acts were intertwined and inextricably connected to the

  tortuous actions of those other defendants and affiliated actors who are

  properly brought into the jurisdiction of this Court via their particular torts

  alleged here, and with this defendant having purposefully sought to prevent

  and intimidate the Petitioner from seeking redress or mitigation of the

  harassment and upset caused to Petitioner by the postings made on the TCTV

  YouTube Broadcast Channel, which is conducting business online and

  broadcasting on and for YouTube or Internet online broadcast channels,

  which has within the 18 months, and within the past one year of this filing,

  where TCTV has continued in having intentionally engaged in a continual

  and ongoing pattern of cyber stalking, harassment, defamation, threats to your

  Petitioner’s peace, reputation, life and safety, intentional infliction of emotional

  distress and intentionally engaged in other cyber and online harassment, and

  civilly tortuous acts committed by herself and against the Petitioner in

  alignment, both individually and in alignment with those other defendants as

  described herein, causing damage to her in the particulars as alleged herein;

G. DONALD MURRAY, added as an additional defendant here, a person

  reasonably believed of the full age of majority, believed located and domiciled

  within the State of Pennsylvania, and more particularly believed located 1334

  N.Wilton Street, Philadelphia, PA 19141, and also known as, broadcasting

  online postings and or conducting business using the persona or title of “DON



                                                                                     9
Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 10 of 105




   M” and “DON THE FDMG BOOGIE MAN”, all YouTube or Internet online

   broadcast channels, for and on YouTube or Internet online broadcast

   channels, and/or any other businesses or entities operated or participated in

   by this person, who personally, or through others affiliated with himself or

   his businesses, and within the past one year of this filing has intentionally

   engaged in a continual and ongoing pattern of cyber stalking, harassment,

   defamation, threats to your Petitioner’s peace, reputation, life and safety,

   intentional infliction of emotional distress and intentionally engaged in other

   cyber and online harassment, crimes and civilly tortuous acts committed by

   himself and against the Petitioner in alignment with those other defendants as

   described herein, causing damage to her in the particulars as alleged herein;

H. ANTHONY OKAFOR, added as an additional defendant here, a person

   reasonably believed of the full age of majority believed located and domiciled

   within the State of CALIFORNIA, and more particularly at the address of 2951

   Fair Oaks Ave, Altadena, CA 91001, and also known as using the inline

   persona and/or conducting business as “SPOT3MSHOT3M” for YouTube or

   Internet online broadcast channels, and/or any other businesses or entities

   operated or participated in by this person, who personally, or through others

   affiliated with himself or his businesses, intentionally engaged in a continual

   and ongoing pattern of cyber stalking, harassment, defamation, threats to your

   Petitioner’s peace, reputation, life and safety, intentional infliction of emotional

   distress and intentionally engaged in other cyber and online harassment,

   crimes and civilly tortuous acts committed by himself and against the



                                                                                     10
Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 11 of 105




   Petitioner in alignment with those other defendants as described herein,

   causing damage to her in the particulars as alleged herein;

I. ORACLE THE VINTAGE GARDEN® SINCE 2015, (“THE ORACLE”) a

   business entity, reasonably believed operated by at least one Texas resident

   of the full age of majority, reasonably believed via business advertisements

   and online postings to be located and domiciled within the State of TEXAS,

   and more particularly at the address of 2800 Peavy Rd, Apt 1145, Dallas, TX

   75228 and also known as or conducting business as “THE ORACLE”, on or

   for YouTube or Internet online broadcast channels, and/or any other

   businesses or entities operated or participated in by this person, who

   personally, or through others affiliated with himself or his businesses,

   intentionally engaged in a continual and ongoing pattern of cyber stalking,

   harassment, defamation, threats to your Petitioner’s peace, reputation, life and

   safety, intentional infliction of emotional distress and intentionally engaged in

   other cyber and online harassment, crimes and civilly tortuous acts committed

   by himself and against the Petitioner in alignment with those other defendants

   as described herein, causing damage to her in the particulars as alleged

   herein;

J. REVEREND GERALD PALMER, an ANTIFRAUD WARRIOR member who is

   reasonably believed of the full age of majority believed located and domiciled

   within the State of Missouri, at 8214 E 72nd Street, Kansas City, MO 64133,

   and more particularly also known as or conducting business as “REV G

   MAKES MUSIC”, on or for a YouTube or Internet online broadcast channel



                                                                                   11
Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 12 of 105




   (this defendant is, due to his online comments and postings, reasonable

   believed to be an defendant ANTI FRAUD WARRIOR, LLC member or

   affiliate), who has personally and through defendant AFW has intentionally the

   continual and ongoing pattern of cyber stalking, harassment, defamation,

   inciting threats to Petitioner’s life and safety, and other cyber and online

   harassment, such crimes and civil tortuous acts committed by those

   defendants as described herein;

K. The “ANTI FRAUD WARRIORS, LLC” (“AFW”), a California Limited Liability

   Corporation registered with the State of California as located at 2840

   FLETCHER PARKWAY, # 323, El Cajon, CA 92020, with this address

   registered with State of California Secretary of State Business Listings as that

   of the LLC’s Chief Executive Officer, defendant ANDREA MICHELLE

   STEWART, who is the only legally revealed and identified business member of

   the defendant AFW, and with the LLC business using he same actual address

   as defendant STEWART’s listed domicile address. Petitioner and undersigned

   believe that NONE of the members or officers of this LLC are domiciled in

   either Delaware or Louisiana. This defendant LLC and their internet

   broadcasts and acts against your Petitioner are also asserted here to be

   intertwined with the actions of defendant STEWART, and are identified and

   alleged here by your Petitioner here as having engaged, as both in the names

   of AFW and STEWART, as well as in additional settings and episodes using

   the online broadcast identity of the “ANTI AFRICAN SVENGALIS” and/or the

   “Anti Afro Svengalis Channel”, another YouTube - Internet online broadcast



                                                                                  12
    Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 13 of 105




       channel, and with defendants AFW and STEWART undertaking a series of

       internet broadcasts on YouTube and in numerous internet panel discussions,

       comments and attacks upon Petitioner, which since October, 2020 through the

       present month of April, 2022, that have continued in an ongoing pattern of

       cyber stalking, harassment, defamation, and threats to Petitioner’s peace, life

       and safety, amounting to an intentional infliction of emotional distress by this

       defendant upon the Petitioner, with STEWART intentionally engaged the

       continual and ongoing pattern of online and broadcasted cyber stalking,

       harassment, defamation, threats to your Petitioner’s peace, reputation, life and

       safety, intentional infliction of emotional distress and intentionally engaged in

       other cyber and online harassment, crimes and civilly tortuous acts committed

       by himself and against the Petitioner in alignment with those other defendants

       as described herein, causing damage to her in the particulars as alleged

       herein.



      The following are noticed here and named as “actors” illegally and the continual

and ongoing pattern of cyber stalking, harassment, defamation, threats to Petitioner’s

life and safety, and other cyber and online harassment1, such crimes and civil

tortuous acts committed by those defendants as described below. Since the date of


1 Each particular individual online or internet broadcast referenced in this entire amended
Petition/Complaint, made herein, and any and all references to online or video postings, are
asserted here by the Petitioner here to be internationally viewable, online internet or
YouTube video or comment postings intended to be accessible and viewable by the entirety
of the general public, whether or not a particular dated or referenced quote is actually labeled
as an online or publicly viewed or viewable posting made by any respective defendant or
affiliated or aligned actor making such comments or postings or broadcasts.


                                                                                             13
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 14 of 105




this filing and the service of Petitioner’s Complaint and pleadings upon certain

defendants, many of these actors (most of whom have avoided service of process,

and to date not yet been served), including Defendant TANISHA PRICE, acting to

damage Petitioner through online postings made through her online persona “BLACK

LOUNGE ENTERTAINMENT”, and with the named defendants often having changed

their YouTube channel names or having taken measures to have hidden their

channels from public view on YouTube, while taking on the other broadcasting

personas or names of other actors.

The defendants named here are sued here for their previous tortuous actions, as well

as for additional torts committed against Petitioner since her original and first

amending Petitions/Complaints, and their change in respective identities does not

preclude these actors from culpability for those torts committed as cited in this

lawsuit, whether committed under either former or other identities or names which are

listed and or identified herein.

     Those particular additional actors are specifically not named here as

defendants as their respective individual identities are unknown at this time, but

expect to be identified via discovery propounded to defendants and third parties.

Those non-defendant actors identified here as aligned with the named defendants

in their ongoing campaign of online harassment, threats and defamation of your

Petitioner, include the following:

   1) Aliased-named actors aligned with the named defendants, “THE GOOD

       GUYS”, “TCTV”, “GHOST”, “GOOD GUY”, “COUCH POTATO”, “GHOST

       GHOST”, “SLANDERGOD”, “POSITIVELY HATE”, “THE ORACLE”,



                                                                                     14
Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 15 of 105




   “SCARLIT”, “GENERAL D”, and “BLACK LOUNGE ENTERTAINMENT”, ANY

   UNIDENTIFIED INDIVIDUAL DEFENDANTS, all alias-named persons and/or

   entities or groups of persons, heretofore unidentified, all reasonably believed

   of the full age of majority and/or also known as or conducting business as in

   heretofore aliased named identities, and/or any other businesses or

   individuals, to be determined as discovery against existing named defendants

   commences, many of these aliased-named defendants whom are affiliated

   and connected to above actual named defendants, as reasonably believed by

   Petitioner due to their own admitted online and public statements both

   broadcast on YouTube channels and/or posted in comments online in various

   venues, with these defendants’ described alignments with actually named

   defendants, as well as by their own public internet postings, all whom who

   personally, or through others affiliated with herself or her business, through

   numerous public online postings and YouTube broadcasts have since

   October, 2020 through this date of April, 2022, have in numerous online

   broadcasts and postings have intentionally engaged in the continual and

   ongoing pattern of cyber stalking, harassment, defamation, threats to

   Petitioner’s life and safety, intentional infliction of emotional distress, and other

   cyber and online harassment, such crimes and civil tortuous acts committed

   by those defendants as described below, and which includes episodes of

   these crimes and tortuous acts of the defendants, which began in the month of

   October, 2020 and commences and has repeatedly plagued, upset and




                                                                                     15
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 16 of 105




      damaged Petitioner through this date of February, 2022, in violation of both

      Louisiana state and federal law as explained below.

                                            II.

      On or about October 1, 2020, your petitioner CATHERINE BROWN,

a former resident and domicile of the State of Delaware, and as of November 27,

2021 now domiciled in and a full time resident of the State of Louisiana, began to be

and was made to suffer a continual and ongoing pattern of on-line, You Tube, e-mail

and other cyber stalking, harassment, defamation, threats to her life and safety, often

racial based criticisms, threats and attacks upon her, which are asserted here acts of

intentional infliction of emotional distress and disturbance of her personal peace, as

well as other cyber and online harassment, such crimes and civil tortuous acts

committed by those above-named defendants, including but not limited to all

individually-named and identified defendants MINYANGO TOKPAH, SHAKIM

HARRIS, TANISHA PRICE, ANDREA MICHELLE STEWART, JONTE MILLER,

DONALD MURRAY and ANTHONY OKAFOR, REVERAND GERALD PALMER and

the ANTI FRAUD WARRIORS, LLC, with at least some of these defendants which

were enabled, encouraged or advanced by re-named and added defendant

THERESA D. BRUNSON.

     In addition to the named defendants here, there are not yet identified

defendants, additionally committing those same types of acts against your Petitioner

as described above, who are asserted here to be actors aligned with the named

defendants described herein, and who are intended to be actually identified and

named here as additional defendants upon service and appearance of the named



                                                                                     16
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 17 of 105




defendants in this litigation, and who are in god faith expected to be identified and

named here as discovery commences.

     Your Petitioner since October, 2020 through this month of April, 2022, has

been continuously and repeatedly plagued, upset and damaged by these online

cyber attacks and stalking, which appear to be obviously coordinated and related

attacks and assaults upon her by the above-named defendants and other actors

aligned with the named defendants. These damaging online attacks, and intimidation

of your Petitioner occurred upon her while at her previous home in Delaware, and

while travelling and residing part-time in Louisiana during the years 2020 and 2021,

and have continued upon her after relocating her full-time domicile to Louisiana on

November 27, 2021. Prior to her full-time relocation to Louisiana, Petitioner was

visiting Louisiana during her frequent visits and previous part-time residence in this

state, and then after her permanently relocating to Louisiana. Petitioner has been

made to suffer severe and ongoing levels of upset and mental trauma, which have

required medical attention and mental health counseling, all related to these

continuing and frequent threats and online assaults upon her, made via these online

threats and assaults and defamation upon her, continuing through this month of April,

2022.

    Most particularly, a great portion of these episodes of threats, assaults

and defamation were experienced and endured by Petitioner CATHERINE BROWN

on the dates of December 19, 2020 through January 5, 2021, April 2, 2021 through

July 5, 2021, and July 27, 2021 through August 22, 2021, as well as on many other

dates thereafter including after her November 27, 2021 permanent relocation to



                                                                                         17
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 18 of 105




Louisiana, at locations within Orleans Parish that are included within the district of

this Court, as well as while Petitioner was in other parts of Louisiana not located in

this judicial district.

      The background and explanation of the Petitioner’s claims and request for

judicial relief here are as follows:

       The defendants, as well as actors aligned with the named defendants

are essentially on-line, internet groups individuals, personas and groups that have

used the well known You Tube Channels and on-line broadcasts, used to

intentionally threaten, harass and intimidate – including specific threats of injury,

assault, death and sexual assault - your Petitioner. These actors aligned with the

named defendants include but are not limited to those defendant named individually,

as well as defendant AFW.

      The defendant AFW is alleged here to have individuals affiliated with them

who then pay other individual actors known as “Good Guys” to harass others, such

as your Petitioner. Petitioner reasonable believes that these payments are made to

the individual actors, known in the parlance of the internet as “Mercenaries”, with

these actors believed by Petitioner here to receive compensation or payment for their

attacks upon her via online transfer or cash payment “apps”, by those seeking to

harass or threaten others with buffers protecting their accountability for same.

Petitioner, through her personal on-line research, has identified statements of certain

defendants and actors aligned with the named defendants named here, with their

statements and comments online personally witnessed by Petitioner (causing

distress and damage to her as well), as well as her own investigations following the



                                                                                         18
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 19 of 105




ongoing threats made to her by these actors, believes that the defendants and actors

“AFW” and “The Good Guys” are opponents of and/or former supporters of Pan

African Activist leader Dr. Umar Johnson, and that the AFW and Good Guys have

political or policy disagreements with, and are now aligned against Dr. Umar

Johnson, whom they accuse publically and claim that the Petitioner is now supportive

of. The actor AFW in their online postings and broadcasts repeatedly claim that Dr.

Umar Johnson is a scammer or some type of fraudulent enemy of the Black

community, and in their online postings and attacks upon the Petitioner, these

defendants publically through their YouTube broadcasts claim that the Petitioner,

herself an African-American female, is an affiliate of Dr. Umar Johnson, and therefore

by extension is aiding or supporting an enemy of the Black Community, and with

these defendants within the one year of this filing having posting numerous internet

messages, comments and YouTube broadcasts identifying your Petitioner as an ally

of Dr. Umar Johnson, and therefore an enemy of the Black Community. This is very

damaging and upsetting to the Petitioner, as she reasonable believes that these

online posting damage her reputation, and foment hatred and potential additional

online and perhaps physical attacks against her.

      Petitioner reasonably believes that online actor-entity The Good Guys are

accepting pay to harass, defame and publicly humiliate any individual that might

support or sympathize with Dr. Umar Johnson, and believes that may at least in part

motivate the attacks and threats against her. These defendants’ and actors’ aligned

with the named defendants tortuous acts, both criminally and tortuously threatening

and defaming Petitioner in violation of federal and state law, include their online



                                                                                       19
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 20 of 105




postings, broadcasts and threats against your Petitioner are these (believed affiliated,

or coordinated, or “Mercenary”) defendant online individuals, entities, or groups, and

the individuals Petitioner believes are related thereto.

         Petitioner identifies particular defendants, incidents, and causes of action, as

well as relief and recovery sought herein, as follows:

                                             III.

Defendant MINYANGO TOKPAH

     Defendant MINYANGO TOKPAH, also known as “Poetik Flakko”,

is an online actor that to Petitioner’s understanding has used several aliases,

including “Federick Jallah”. This defendant is reasonably believed from his online

broadcasts and comments to be a founder of the defendant-aligned entity or online

group “The Good Guys” internet troll (harassment) group, who constantly posts

YouTube vitriol and hate attacks against your Petitioner, often claiming her to be

insufficiently pro-African American, and threatening her for same.

     This defendant is believed to be an immigrant from Africa, who constantly

posts hate attacks against your Petitioner, often claiming her to be insufficiently

pro-Pan African American, and threatening her for same. This defendant actor is

believed by Petitioner to utilizes his access to specialized software as a Financial

Industry employee to look up an online targeted individual’s private information

(criminal histories, credit histories, home addresses, employment information,

children’s information, spouses’ information, i.e. spouses’ employment locations,

children’s schools, children’s addresses), and use this information within his threats




                                                                                       20
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 21 of 105




against certain targeted person, and has done so to threaten, harass, and intimidate

your Petitioner.

    Defendant MINYANGO TOKPAH is believed by Petitioner, because of his explicit

threats and harassment of her, to be dangerous and a real danger to your Petitioner,

as in the pertinent time period (October, 2020 throughout the year 2021). This

defendant has explicitly and repeatedly sexually threatened and bullied the Petitioner

in online YouTube broadcasts and comments, which she believes due to this

defendant’s comments were conducted on behalf of defendant TCTV. Part of this

defendant actor’s online harassment and threats to Petitioner also include his having

called her a “funky pussy hoe” and other explicit sexually-involved insults, and this

defendant has also posted defamatory and untrue claims online that the Petitioner’s

non-profit corporation is a fraudulent effort and a “scam”. These postings by this

defendant have defamed your Petitioner and have attempted to undermine her ability

to maintain her non-profit corporation and efforts, and have defamed her to other

potential donors and colleagues, as well as having threatened her personal peace

and well-being.

     Petitioner believes, given online information posted by this defendant actor

MINYANGO TOKPAH, that he either currently works for or has worked for a debt

collection organization or law firm with specialized access to individuals’ personal

information including residence and employment information. Petitioner reasonably

believes from information publicly revealed by this defendant that he does have

access to her personal information as the defendant appears to have previously

contacted Petitioner’s relatives for Debt Collection, and it is believed that this actor



                                                                                           21
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 22 of 105




has used assets involved with this Debt Collection law firm to gather information and

use that information to attack the Petitioner and her family.

     This defendant actor’s venues for internet threats and defamation to your

Petitioner were conducted upon the popular YouTube internet online broadcast

venue. This defendant MINYANGO TOKPAH regularly uses the YouTube Channels

of “Poetik Flakko” and “Poetik Flakko Media”, as well as formerly “Poetik Flakko

Reactions” (this defendant was believed to have changed YouTube channel names

as he realized that Petitioner was going to take action against his tortuous and illegal

online behavior. Petitioner reasonably believes, due to this defendant’s explicit

online postings and threats directed at her, that this particular defendant actor is very

dangerous and presents a serious danger to her health and well being, and also

believes that this defendant actor is performing these tortuous acts and threats in

affiliation and/or on behalf of the defendant-aligned entity “THE GOOD GUYS”, given

his posted statements and hints included within his previous online postings and

comments. Several incidents involving this defendant actor include the following:

     On or about June 4, 2021, Petitioner was made to witness online chat room

postings by defendant MINYANGO TOKPAH (as Poetik Flakko) where he stated that

he had stalked Petitioner by his looking up her personal information and calling her

business associates and affiliates, despite his having no legal reason to do so, and

with this defendant then posting online that he would post her personal information

online to damage your Petitioner if she properly reported this defendant or other’s

threats against her to law, as well as their sexual bullying, insults and defamation of

her to law enforcement authorities.



                                                                                       22
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 23 of 105




     Again on June 4, 2021, Petitioner downloaded chat records will show that

defendant MINYANGO TOKPAH not only admitted to stalking her, cyber-stalking her,

and invading Petitioner’s privacy.

      Petitioner also asserts here that she has video evidence dated August 1, 2021,

of this actor, MINYANGO TOKPAH posting as Poetik Flakko, threatening an 11 year

old child. This actor also has posted the child’s picture online in several different on

several panels, and has made anti-gay slurs against the child on You Tube public

broadcast channels, there calling the minor child a “faggot”, “gay” and other slurs.

Per additional saved video evidence dated August 1, 2021 and saved snapshots of

this defendant’s comments dated during the month of August, 2021, this actor has

also online threatened to have sex with a targeted man’s six year old daughter.

      On or about May 20, 2021, this same defendant MINYANGO TOKPAH

sexually bullied your Petitioner in a publicly accessible live stream that he broadcast

online in video, stating “Catherine Brown wants to fuck. She wants to fuck TCTV.”

This defendant made those online public statements to intentionally sexually

humiliate the Plaintiff, by online publication of false narratives and claims - via several

internet broadcasts occurring in the year 2021 – in his telling hundreds, perhaps

thousands, of online viewers that Petitioner CATHERINE BROWN requested sexual

favors from TCTV. These statements by this defendant are entirely false, and were

forwarded to others and placed online in an intentional attach upon the reputation

and personal peace of your Petitioner.

     This defendant on May 24, 2021 in other online postings stated that he is the

actual reason why Petitioner filed criminal complaints against defendant TCTV and



                                                                                           23
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 24 of 105




had complained to YouTube about TCTV using their online platform to sexually

ridicule and upset her, to bully her and to humiliate her, which these postings did

accomplish.

     Defendant MINYANGO TOKPAH is believed by Petitioner, because of his

explicit threats and harassment of her, to be dangerous and a true danger to your

Petitioner, as in the pertinent time period (beginning October, 2020 throughout the

year 2021), has explicitly and repeatedly threatened and has sexually bullied the

Petitioner online, which she believes was conducted on behalf of defendant TCTV,

per video evidence dated May 29, 2021. Per downloaded chat evidence, dated May

29, 2021, part of this defendant actor’s online harassment and threats to Petitioner

include his having called her a “Stank Pussy Hoe (whore)” and other explicit sexually-

involved insults, and he has repeatedly also posted defamatory and untrue claims

online that the Petitioner’s non-profit organization is a fraudulent effort and a “scam”.

These public postings have defamed your Petitioner and have undermined her ability

to maintain her non-profit corporation and efforts, and have defamed her to other

potential donors and colleagues.

     This defendant/actor MINYANGO TOKPAH’s (as Poetik Flakko) regular

venues for internet threats and defamation to your Petitioner were conducted upon

the following his Discord platform and his YouTube internet YouTube Channels of

“Poetik Flakko” and “Poetik Flakko Media”, “King Talk Entertainment” and other

“Good Guy” owned channels as well as formerly “Poetik Flakko Reactions” (this

defendant was believed to have changed channel names once he realized that

Petitioner was going to take action against his tortuous and illegal online behavior.



                                                                                        24
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 25 of 105




Poetik Flakko also uses the public online broadcast and posting venues of Discord,

FaceBook and YouTube to torment his targeted victims, while also appearing on

defendant TCTV’s public online broadcast Rumble channel to do the same.

      Petitioner sincerely believes that this particular defendant actor MINYANGO

TOKPAH very dangerous and presents a serious danger to her safety, health and

well being, and also has reason to believe that this defendant actor, is performing

these tortuous acts and threats in affiliation and/or on behalf of the defendant-aligned

entity “THE GOOD GUYS”, given his and others’ similar threats and statements, as

well as this defendant’s particular statements and hints included within his previous

online postings.

     Per downloaded video evidence, dated September 23, 2021, defendant

MINYANGO TOKPAH repeatedly stated online about stalking and threatening his

enemies, and has posted actual photographs online of him purported to be at or near

the homes of persons which he publicly claims to be stalking. Given the vile nature,

the duration and intensity of this defendant’s online attacks upon her, Petitioner

sincerely believes that this defendant is a real threat to her and her family’s safety

and well being, and sought, unsuccessfully, Court relief via injunction to protect her

by ordering this defendant and other defendants to discontinue these threats and

harassment, and further seeks compensation in tort as appropriate for all damages

and other awards found appropriate here.

      Defendant MINYANGO TOKPAH is believed by Petitioner, given information

revealed by him in online broadcasts and postings, to utilize his access to software

as a Financial Industry employee to access online several targeted individual’s



                                                                                         25
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 26 of 105




private information, including your Petitioner and her family members’ criminal

violation or litigation histories, credit histories, home addresses, employment

information, children’s information, spouses’ information, (i.e. spouses’ employment

locations, children’s schools, children’s addresses), and use this information within

his threats against certain targeted persons – including here your Petitioner, and has

done so to threaten, harass, and intimidate your Petitioner. Petitioner due to online

postings and comments witnessed by herself firsthand, does believe that this

defendant, as well as his associates, possesses the personal addresses and

information regarding herself and her family, and believes this defendant to pose a

true danger to herself and family.

    In video evidence dated June 12, 2021 and June 25, 2021, defendant

MINYANGO TOKPAH broadcast online the details of the living arrangements of a

handicapped, older male online harassment target of defendant-aligned “THE GOOD

GUYS” and their internet aligned trolls (this included the target’s parents). This is

supported by saved video evidence. As per the above stated video, defendant

MINYANGO TOKPAH’s doxing efforts are broadcast personal information about

their targets, of anyone (and their children) who are listed at the address and made

public for anyone to access and use to stalk or threaten targets that are chosen for

such treatment by these defendants to harass, cyberstalk, or worse. Given defendant

MINYANGO TOKPAH’s access to information of his targets, and his exhibited

behavior in threatening and using that access to private information as admitted by

this defendant, the Petitioner fears for her personal safety, her reputation, and that of

her family and business associates.



                                                                                        26
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 27 of 105




       In video evidence dated September 8, 2021, defendant MINYANGO

TOKPAH threatened a target telling this target by name, in an online broadcast

and comment stating plainly “WE” have your address information. On or about May

22, 2021, this defendant, posting again online as Poetik Flakko, on the live stream

YouTube internet Channel broadcast, video titled “How The Good Guy Can

Recover”, this defendant explicitly threatening Petitioner’s life, by verbally

encouraging fellow defendant-aligned entity TCTV (another YouTube channel owner)

should “make her pay in blood” for having TCTV’s YouTube broadcast channels

deleted for properly reporting to YouTube and/or law enforcement authorities that the

defendant TCTV had publicly sexually bullied Petitioner. The defendant also referred

to the Petitioner’s mother’s house, her grandmother’s house and stated again that

someone should make her (the Petitioner) “pay in blood”. These public threats

against the Petitioner are well documented with YouTube saved video.

     Per video evidence dated October 3, 2021, Poetik Flakko made an open threat

to publish personal information of anyone who defies him. He also boasted of his

previous threats to others regarding publishing their personal information online to

put their families at risk.

    Further, per video evidence dated May 29, 2021, the defendant MINYANGO

TOKPAH’s broadcasts and comments provide reasonable basis for the Petitioner to

believe that this defendant in fact does has access to her and her family member’s

personal information and home and employment addresses through HIS employment

with a Debt Collection law firm or organization, and that given the defendant’s

possessing this information in addition to his intense hatred and vitriol against your



                                                                                         27
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 28 of 105




Petitioner as evidenced by his online broadcasts, makes his threats to your Petitioner

to be real threats, and not idle threats.



                                              IV.

Defendant SHAKIM HARRIS

      Defendant SHAKIM HARRIS is an additional online actor, acting in concert

with other defendants and actors, that has intentionally and explicitly incited threats

of violence against your Petitioner and has threatened violence against others. The

defendant, SHAKIM HARRIS, also known as “SHEKEM RA”, is a based upon his

online comments and postings to be a former member of defendant entity “The Good

Guys”, and this individual defendant is believed by Petitioner, voted out of that group,

on the basis of numerous online comments by others, and this defendant SHAKIM

HARRIS is reasonably believed to now have control of numerous affiliated and

aligned internet “trolls”, (aligned online posters).

      This particular defendant SHAKIM HARRIS has made a false online statement

that your Petitioner gave him cash apps for his content, in saved video internet

broadcasts dated September 23, 2021. Based on chat comments by “Spot3m

Shot3m” on this date, Petitioner reasonably believes that these cash app payments

were sent by “Spot3m Shot3m” (identified as newly-named here defendant

ANTHONY OKAFOR), where SHAKIM HARRIS was told via cash app message (by

ANTHONY OKAFOR) to announce that the money came from CATHERINE BROWN

rather than himself (Anthony Okafor). Petitioner further believes that this online

posting announcement made by SHAKIM HARRIS (that she’d given money) was



                                                                                          28
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 29 of 105




directly intended to incite violence against, violent threats, cyber stalking and

harassment herself. This type of online posting and false statement is threatening

and dangerous to your Petitioner, as defendant SHAKIM HARRIS has been attacking

the “Good Guys” online in his own postings, and as both defendants are volatile and

threatening, any retribution sought by any one defendant or the other involving their

violent threats and disputes could endanger your Petitioner if she is seen by one to

be aligned or supportive of the other defendant, which she is not. This then includes

a video posting dated September 23, 2021, where defendant POETIK FLAKKO

stated there that he had filmed himself going to the home of SHEKEM RA to attack

him.

       In video dated September 23, 2021, defendant SHAKIM HARRIS, posting as

“SHEKEM RA”, in rebuttal to POETIK FLAKKO’S video of himself at SHEKEM RA’s

home, SHEKEM RA brandished a loaded shotgun to threaten POETIK FLAKKO for

coming to his property and even stated his address for POETIK FLAKKO to have the

proper information as SHEKEM RA stated that POETIK FLAKKO was at SHEKEM

RA’S father’s home rather than his own. This is evidence of defendant SHAKIM

HARRIS’ volatility and dangerousness as displayed by this defendant in his armed

staking of others. Taken together with his aggressive hostility toward the Petitioner as

evidenced by his online postings, have rightly upset your Petitioner’s safety and

peace of mind when considering his previous disagreements with Petitioner, his false

accusations and statements involving the Petitioner, and this defendant’s threats to

others online.

       This false accusations posted by this defendant claiming that your Petitioner



                                                                                       29
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 30 of 105




is giving money to SHEKEM RA in support of his online attacks against the “Good

Guys” for being excluded from that group, is absolutely false and defamatory, and

has created and promoted a false and dangerous perception that the Petitioner is

funding attacks upon and complaints against the “Good Guys”, and could well foment

their members or affiliates to attack, endanger or injure your Petitioner for retribution

against her as threatened online by many like-minded actors in the past.

      These false statements and narratives published by this defendant, as well as

those actors aligned with defendant SHAKEM HARRIS, have created and promoted

hatred towards your Petitioner, and have incited others to make additional threats of

violence against your Petitioner. These actors have a pattern of behavior, which was

in fact displayed publicly and witnessed by your Petitioner, with their intentional

actions result in the destruction of the reputations and businesses of their targets,

which include your Petitioner having witnessed and suffered damages to her

personal peace and reputation here, and with these online attacks having resulted in

(as with your Petitioner) threats of violence, cyber stalking as well as online and

offline attacks.

                                             V.

Defendant TANISHA WRIGHT

      Defendant TANISHA WRIGHT, also known as “TANISHA SMITH-PRICE”,

And also known to use online broadcast and posting personas of “TANISHA PRICE”,

“TANISHA LYNN PRICE”, and “BLACK LOUNGE ENTERTAINMENT” also known as

“Tanisha Wright-Price” is an online actor that to Petitioner’s understanding has used

several aliases, including “TPRI”. The events and episodes dates involving this



                                                                                        30
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 31 of 105




defendant’s threats, defamation and damaging internet posts involving the Petitioner

are as follows:

     It is important for this Court to know that Defendant TANISHA WRIGHT

continues to cyber stalk CATHERINE BROWN to this day, through at least the month

of February, 2022, and this defendant escalates her actions as these proceedings

continue.

    Further, three Defendants (including TANISHA WRIGHT) have inadvertently

corroborated (vial YouTube videos posted on their channels) claims made by the

Plaintiff in this filing, and their awareness of these proceedings having been filed by

the Petitioner here.

        Petitioner desires that this Court to understand that just because these

named defendants and content creators are not physically located in the vicinity of

where the Plaintiff currently resides (Louisiana), that these actors do have followers

or others with who are in the vicinity, or might travel to and act out upon their incited

hatreds, where the Plaintiff currently resides. Hence, just because TANISHA

WRIGHT and the Plaintiff are no longer residing near each other, does not mean that

a follower of TANISHA WRIGHT or any viewer of her channel would not react to the

hatred she incites against the Plaintiff.

      TANISHA WRIGHT appears to have involved herself in the controversies

involving the other defendants and your Petitioner specifically to bully CATHERINE

BROWN for seeking Police assistance in threats to her from a Black man (TCTV). In

response, defendant TANISHA WRIGHT inserted herself into, and furthered attacks

upon the Petitioner – stating plainly that WRIGHT’s involvement was motivated by



                                                                                        31
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 32 of 105




race and in response to the Petitioner seeking relief from Police agencies for

problems involving a Black man or men harassing her. This statement was made by

WRIGHT via YouTube video dated July 24, 2021 and will be presented at trial.

        Evidence and testimony will be presented at trial to show that CATHERINE

BROWN had no issues or dealings with TANISHA WRIGHT prior to CATHERINE

BROWN going to police. Further, per videos created and posted by TANISHA

WRIGHT since the filing of this litigation, she has retaliated against CATHERINE

BROWN with continued cyber stalking and attacks referencing this litigation. These

continued actions coincides with CATHERINE BROWN’s testimony that any action

that she’s taken in the past only leads to further cyber stalking, inciting of violence

and attacks.

     In January, 2022, TANISHA WRIGHT made a series of videos cyber stalking

CATHERINE BROWN, even portraying and referencing CATHERINE BROWN as a

clown (for filing a fraudulent lawsuit against TANISHA WRIGHT). In online videos

posted by defendant WRIGHT in the month of January, 2022, TANISHA WRIGHT

plainly accused the attorney for the Plaintiff (undersigned), the Plaintiff herself, the

defendant ANDREA STEWART and the Federal Court of “working together” by filing

a fake or fraudulent lawsuit in order to advance or create content on certain YouTube

channels. WRIGHT enlisted an affiliate to challenge Defendant SHAKIM HARRIS on

his own YouTube channel to “cover” or to online “report” (discuss) the Petitioner’s

(alleged) fraudulent lawsuit involving this Federal Court, as brought by Petitioner

here.




                                                                                           32
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 33 of 105




       As bizarre as TANISHA WRIGHT’s and these affiliated content creators’

behavior have been (and continue to be) in response to being named defendants in

this lawsuit, WRIGHT’s behavior further proves what the Petitioner has claimed

concerning these Defendants in her previous Petitions/Complaints as well as this

one, as well as her oral testimony in the December 2021 hearing – that all of

Petitioner’s efforts to get the Defendants to stop cyber stalking her and cyber bullying

her for content on their YouTube channels (for pay) have been ignored. All of these

incidents, online attacks, comments, postings, and ridicule of the Petitioner and this

litigation has caused to your Petitioner great emotional distress, as it would have

been clear to any reasonable person that they should desist their actions against

CATHERINE BROWN (by now). The Petitioner believes that this defendant

WRIGHT’s continuing attacks upon her and ridicule of this litigation and this Court’s

proceedings reveal an imbalanced and dangerous defendant that presents a danger

to the Petitioner’s peace, and possible physical safety, and has caused the Petitioner

sincere concern and distress over just how far these individuals would go to attack

her.

       That these content creators have continued their attacks and harassment of

the Petitioner, instead of ceasing them, since the filing of this litigation, and instead

have used the Petitioner’s efforts at relief as reason and basis to continue their

torturous behavior and incite further harassment, hatred and threats of violence

against the Plaintiff, is all the more disturbing and upsetting to your Petitioner, and

causes her to feel even more apprehension and dangers presented to her by the




                                                                                            33
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 34 of 105




defendants and affiliated actors, and their followers and adherents to date unknown

to her.

          Various video and YouTube broadcasts over this past year have produced

video evidence (to be presented at trial) the Defendant entity and heretofore

unidentified individuals known as “The Good Guys” have designated TANISHA

WRIGHT as their spokesperson (in YouTube videos) to make critical broadcasted

postings ridiculing the Petitioner and the proceedings in this Court, with defendant

WRIGHT making online comments and postings critical of the Petitioner’s filing of this

lawsuit, with WRIGHT intentionally using the internet broadcasts over this past year

to further incite cyber stalking, claims of CATHERINE BROWN committing criminal

activities and cyber attacks against CATHERINE BROWN (as they have done with all

of her other attempts to have them desist in the past).

      In video dated February 5, 2022, while speaking on behalf of the other

Defendants (and supporting the claims of the Plaintiff that these Defendants are

intertwined and acting in concert) TANISHA WRIGHT referenced the Plaintiff as the

devil for seeking reprieve via this litigation from the cyber attacks made by WRIGHT

and the other Defendants. In that same video dated February 5, 2022, TANISHA

WRIGHT corroborated what the Plaintiff had been saying all along, that it is

Defendant ANDREA STEWART and members of the Defendants, the ANTI FRAUD

WARRIORS who are responsible for at least some of the cyber attacks against the

Plaintiff, and contained references to defendant ANDREA STEWART, concerning a

video that ANDREA STEWART had made directed toward TANISHA WRIGHT. In

her video reply to ANDREA STEWART, TANISHA WRIGHT exclaimed that it is “ya’ll



                                                                                       34
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 35 of 105




fault” (meaning ANDREA STEWART and the ANTI FRAUD WARRIORS) that this

situation (concerning this filing) has come about. TANISHA WRIGHT further stated

(in this same response video): when “ya’ll” (meaning ANDREA STEWART and the

ANTI FRAUD WARRIORS) can’t get to Umar (meaning Umar Johnson) then ya’ll go

after others ya’ll don’t like. This statement, made by Defendant TANISHA WRIGHT,

supports claims made by the Plaintiff in this filing.

       The video dated February 5, 2022 (to be presented at trial), is not the first time

TANISHA WRIGHT has spoken on behalf of a Defendant. In one of a series of videos

cyber stalking CATHERINE BROWN that was created by TANISHA WRIGHT (during

January 2022) spoke on behalf of Defendant SlanderGod while cyber stalking the

Plaintiff. TANISHA WRIGHT (while speaking on behalf of SlanderGod) stated that the

reason “SlanderGod” had been absent from YouTube and hid his YouTube channel

from public view had nothing to do with this lawsuit and that no one was afraid of that

“bitch” (referring to Petitioner). TANISHA WRIGHT even insisted to her viewers that

the Plaintiff was still located in Delaware while telling her viewers that the Plaintiff is

“mentally unfit”. In another video directed toward your Plaintiff, during the month of

January 2022, TANISHA WRIGHT “warned” other content creators that Petitioner

was mentally unfit, but sent communications to others impersonating the Petitioner in

order to incite upset and hatred toward Petitioner by others, and also creating

situations that might result in a “copyright strike” which could potentially have others’

YouTube or online channels deleted. As copyright infringements are federally

regulated, and content creators make money (extra income) with their YouTube

channels, a copyright strike could potentially injure others’ income stream because



                                                                                          35
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 36 of 105




YouTube is more likely to delete a channel over a copyright strike, than for a pattern

of cyber stalking – as has been YouTube’s practice in the past.

      TANISHA WRIGHT’s posted false statements appear to be an act by her to

incite hatred and further harassment and cyberstalking of CATHERINE BROWN by

creating “copyright strikes” to be falsely blamed upon Petitioner, when in fact caused

by WRIGHT impersonating Petitioner.

     This copyright claim was against content creator SLANDERGOD (to be

identified via subpoena). YouTube removed this content from SlanderGod’s channel

because user ANTHONY OKAFOR (SPOT3M SPOT3M) appeared on his panel with

CATHERINE BROWN’s picture referring to her as a “Nutty Bitch” in harassment of

CATHERINE BROWN for going to police concerning DONALD MURRAY and TCTV.

     TANISHA WRRIGHT continued encouragement of other content

creators to continue cyber stalking and making threats of physical violence to

CATHERINE BROWN amid police involvement and now Federal Court involvement

has caused CATHERINE BROWN great emotional distress. Plaintiff hoped the filing

of this litigation would encourage this defendant to discontinue her tortuous behavior

towards CATHERINE BROWN, but it has not.

     During the month of January 2022, yet another affiliate content creator, posting

as a member of “The Good Guys” and affiliate of TANISHA WRIGHT, made a video

accusing CATHERINE BROWN and the undersign of a criminal activity. In this

video, this content creator stated that CATHERINE BROWN and the undersigned

doxxed Defendant Theresa Brunson.




                                                                                     36
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 37 of 105




      In his video, he stated to his viewers that Theresa Brunson was a content

creator who was doxxed by CATHERINE BROWN. Defendant Theresa Brunson

provided her address to the Plaintiff. This content creator also made the bizarre

statement that the lawsuit was a fraudulent document submitted by CATHERINE

BROWN and the undersigned to provide content for the conspired YouTube content

creators’ channel. Based on evidence to be presented at trial, these actors make

such statements so actors (content creators) and their trolls could continue with their

cyber attacks against your Petitioner (for pay) while not taking this lawsuit as an

actual warning to have them desist.

      In videos dated January, 2022 (to be presented at trial), TANISHA WRIGHT

falsely accuses CATHERINE BROWN, yet again of sending “harassing emails” to

others, falsely and gratuitously inciting animus against the Petitioner.

      Per the Plaintiff’s testimony in December 14, 2021 hearing, the Plaintiff stated

that she believes that TANISHA WRIGHT is responsible for impersonating Petitioner

in these emails being sent as though being from the Plaintiff herself. TANISHA

WRIGHT’s insisting (in this video) that CATHERINE BROWN is still located in

Delaware and providing specific location information details is suspicious within itself

(in regards to these emails) as many email users know how to discover where

(location wise) the email hails from. That TANISHA WRIGHT works in Newark, DE

not far from where the Plaintiff previously resided, makes the emails and her

insistence regarding the Plaintiff’s location even more suspicious, as the Plaintiff has

documented evidence of when exactly she permanently relocated to Louisiana

(primarily by records via her current employer of this current “contract/business”) with



                                                                                      37
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 38 of 105




this employer. These harassing emails were sent (presumably from Delaware) to

other content creators long after the Plaintiff relocated.

       In multiple videos posted online in January, 2022, TANISHA WRIGHT stated

that these emails were sent to incite CATHERINE BROWN to jump on YouTube and

“defend herself”. TANISHA WRIGHT also stated that her “views” to her channel had

increased because of her continued cyberstalking of CATHERINE BROWN.

      The above statements made by TANISHA WRIGHT corroborate claims of the

Petitioner here, that the content creators are being paid (in some manner) for their

cyber attacks on Petitioner and that they cyber attack her for content for their

channels. As TANISHA WRIGHT is monetized by YouTube, she gets paid not only in

cash apps, PayPal, and via other electronic methods, from viewers, and is believed

also paid per reaching a certain amount of views by YouTube. Hence, by her own

online admission in boasting that her views “went up” for cyber stalking the Plaintiff,

this defendant has admitted to what to exactly what the Plaintiff has been stating in

her previous Petitions/Complaints all along – in this defendant financially profiting

from her attacks upon Petitioner and the increased viewership resulting from same.

        Petitioner asserts here, given these admissions, that TANISHA

WRIGHT falsely stated that the Plaintiff sent emails to other content creators

(including herself) so that this lawsuit can be discussed online, in hopes that

CATHERINE BROWN would appear on the channels to clarify the content creators’

intentional misinterpretations of the filing. It is noteworthy that in the past when

CATHERINE BROWN did appear on YouTube panels to talk attempt to work out

certain disagreements or to attempt to stop additional online attacks on her, in



                                                                                        38
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 39 of 105




response, these hostile content creators and their affiliated online chat trolls did

nothing but further cyber stalk and cyber attack the Petitioner.

      Petitioner reasonably believes that these actors’ continued cyber stalking,

incitement of violence, hatred and violent threats against her will ultimately lead to

physical attacks (per the pattern of behavior in other instances, and in online postings

of armed stalking involving some of these defendants). Some of these Defendants,

including WRIGHT, created accounts to impersonate CATHERINE BROWN as

though she is still interacting with others, when she has ceased doing so in order to

lower hostility directed at her from others. In this manner, these actors, including

WRIGHT, continue to build hatred, incite threats of violence and the other criminal

activities perpetuated against your Petitioner.

     When CATHERINE BROWN realized that she could not achieve having these

online actors cease hostilities with her, and that they wanted the “drama” or “beef” for

“content” for their financial benefit by increased viewership on their own YouTube

channels where she was the target, she then began her efforts for relief in filing

official complaints with YouTube, the Police agencies, and now in this Federal Court.

        CATHERINE BROWN no longer interacts with these content creators and

their trolls and has not interacted with any of them in nearly a year (except through

the undersigned regarding filings concerning this matter). Nonetheless, their online

attacks and damaging postings online referencing and damaging her continue

through April, 2022. Therefore, these defendants have used her court filings here as

excuses to react and denigrate her, and sometimes impersonate her online to make it

appear as though she’s interacting with them.



                                                                                         39
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 40 of 105




      This defendant actor TANSHA WRIGHT has repeatedly attacked and defamed

your Petitioner, by name, spreading Hate-Based attacks upon her intending to incite

hatred of Petitioner by falsely claiming that the Petitioner targets and falsely attempts

to have Black men arrested and prosecuted, while connecting these false claims

against your Petitioner to other, well-publicized unrelated negative or media-focused

Police interactions with Black men, a pointed attempt to generate and to foment

anger and additional harassment and threats against your Petitioner.

      These false and dangerous internet postings by this defendant actor puts

Petitioner at risk from others that could be motivated to injure or hurt Petitioner with

the false belief that Petitioner is intentionally acting to file and injure Black men by

filing false police reports against Black Men.

      On May 24, 2021, defendant TANISHA WRIGHT made false claims in online

comments concerning the Petitioner blaming her for reporting other online attackers

to law enforcement and YouTube authorities, falsely posting such claims concerning

your Petitioner in order to intimidate her from going to the police in response to her

being harassed, threatened and defamed online by this defendant and other actors.

Defendant TANISHA WRIGHT stated online that the police were not concerned with

your Petitioner’s complaint, whereas the police were actively involved in obtaining the

necessary search warrants to obtain videos to support your Petitioner’s complaint

and in contact with your Petitioner often.

      On numerous occasions over the year 2021, defendant TANISHA WRIGHT

made online postings and broadcasts falsely claiming that it was the Petitioner that

was producing and making multiple hateful and inciting YouTube broadcasts and



                                                                                           40
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 41 of 105




postings as YouTube broadcaster “Anti Afro Svengalis”, falsely blaming Petitioner for

these posts when this defendant knew this to be untrue. Defendant TANISHA

WRIGHT has sat on several of the “Good Guys” online chat room panel on an active

campaign (along with another defendant-aligned entity, TCTV) to intimidate, incite

hatred against and to harass your Petitioner for seeking police protection against the

“Good Guys”, on an online panel dated May 24, 2021.

      In a posted video dated May 24, 2021, Defendant TANISHA WRIGHT cyber

attacked your Petitioner for going to police and mentioned to viewers that your

Petitioner put “Black men” at risk of harmful police interaction for your Petitioner

seeking police protection. In video dated July, 24, 2021, Defendant TANISHA

WRIGHT once again defamed your Petitioner with a harmful statement to further put

her at risk by stating that your petitioner filed false police reports which injures Black

men. Filing false Police Reports is a crime, and this accusation by this defendant

accuses the Petitioner of committing a crime – a blatant act of defamation. Further,

and this defendant is endangering Petitioner, by making these inciteful public claims

against Petitioner, which could motivate others to harm or endanger your Petitioner

or her loved ones.

      Also on May 24, 2021, Defendant TANISHA PRICE, posting online as

“Tpri”, appeared on defendant SHAKIM HARRIS’ online panel and stated: “I want

to address that bitch, Catherine Brown”, and then began hurling vulgarities towards

Petitioner for going to police and having defendant TCTV’s channels deleted

because he had attacked and sexually bullied Petitioner, conspired to extort her,




                                                                                         41
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 42 of 105




harassed her and retaliated against her with vulgarity for going to police on to report

these acts.

       On July 24, 2021, defendant TANISHA PRICE, posting online as “Tpri”

stated online that Petitioner regularly files false police reports on people. In that same

posted video, this defendant stated that she had no idea what goes on in “Ghost’s”

(formerly TCTV) life. Yet she stated as fact that Petitioner had filed false police

reports on that other defendant (TCTV).

       Also on May 24, 2021, Petitioner first discovered that various defendants

and aligned actors, including TANISHA PRICE, have made email accounts using

Petitioner’s YouTube channel name and are then harassing other people with it,

further inciting negative and dangerous animus against the Petitioner.



                                             VI.

Defendant ANDREA MICHELLE STEWART

      Defendant ANDREA MICHELLE STEWART is an online actor that to

Petitioner’s understanding has used several aliases, including “ANTI AFRO

SVEGALIS” You Tube Channel, and/or “ANTI AFRO SVEGALIS CHANNEL”.

It is important for this Court to know that Defendant ANDREA STEWART

continues to incite violence and cyber stalking (harassment) against CATHERINE

BROWN to this day. The recent actions of Defendant ANDREA STEWART also

provides credibility to the statements made by CATHERINE BROWN: these YouTube

and online content creators (rather than simply stop using Petitioner for fodder for

content as it has incited threats to her life, cyber stalking and cyber attacks) continue



                                                                                       42
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 43 of 105




to use every effort she has made (including going to YouTube, police and now

seeking relief in Federal Court) to further incite hatred, threats of physical violence,

cyber stalking and harassment against the Petitioner.

      Evidence at trial will show that ANDREA STEWART has a history of paying

other individuals to attack her targets on and offline, even physically stalking her

targets (in their States of residency as ANTI FRAUD WARRIORS and their

supporters are spread throughout the country). During the month of March 2022,

ANDREA STEWART yet again made online posted inflammatory statements

defaming CATHERINE BROWN for allegedly filing police reports stating that she is a

“white woman” (who injures Black people), and made a blatantly false online

statement stating that CATHERINE BROWN had for years made public statements

falsely claiming to be a “white woman”.

     Evidence to be presented by Petitioner at trial will show that the internet

“sector” of content creators wherein CATHERINE BROWN was previously a guest

on internet broadcasted panels, and where she had previously made the statements

ridiculed and promoted by defendant STEWART in her online accusations, have not

even existed as broadcast venues for many years. Evidence at trial will show that

ANDREA STEWART made such inflammatory public online statements against

CATHERINE BROWN for the sole purpose of inciting vitriol, hatred and to perpetuate

the cyberstalking of CATHERINE BROWN by affiliated Youtube content creators to

give leverage for ANDREA STEWART, her followers (trolls) and the defendant AFW

to attack CATHERINE BROWN’s businesses, business affiliates, sponsors and

associates as they’ve done others in the past.



                                                                                           43
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 44 of 105




    As recently as April 2022, ANDREA STEWART (in responding to the Court’s

Granting of ANDREA STEWART’s motion for more definitive statement) stated

via a YouTube public post that the Judge (in this case) “knows” that claims

made by CATHERINE BROWN are “silly”. Defendant ANDREA STEWART made

this public post despite the fact that the in recent response (to ruling in the

TRO/Preliminary Injunction proceedings), the Court stated that CATHERINE

BROWN’s claims were not “taken lightly” and despite the fact that a Motion for more

definitive statement is a standard legal proceeding and has nothing to do with the

judges opinions on any Plaintiff’s claims. This publicly posted statement by ANDREA

STEWART, as well as the responses of her followers corroborate that her followers

rely upon her to interpret legal processes, law and other related subject matter as

basis to act accordingly regardless of how flawed her interpretations may be.

     ANDREA STEWART’s public postings within this past year (and other actions of

ANDREA STEWART since this filing) corroborates CATHERINE BROWN’s oral

testimony during the December, 2021 TRO/Injunction Hearing: that all of Petitioner’s

efforts to have the defendants cease and desist their damaging attacks upon her are

minimized and ridiculed by the defendants, and that they to date feel empowered and

free to continue those attacks, as well as well as incite others to join them with

spreading false attacks and narratives upon CATHERINE BROWN, as they have

done others (such as herself) in the past.

      During the month of April 2022, ANDREA STEWART, yet again defamed

CATHERINE BROWN by accusing CATHERINE BROWN of criminal activity, as

defendant STEWART made and posted a YouTube video declaring and accusing



                                                                                      44
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 45 of 105




CATHERINE BROWN “being behind” the sexual harassment and filing a “false police

report” against one Lenon Honor. ANDREA STEWART makes these false claims

against CATHERINE BROWN to create racial animus and to incite violence against

Petitioner. Evidence at trial will show that, via YouTube videos that are seen by

hundreds and thousands, that defendant ANDREA STEWART has a long history of

harassing females online who she believes are associated with Umar Johnson,

accusing them online of criminal acts as well as posting items or accusations which

are sexually harassing, sexually humiliating to STEWART’s female targets.

         Evidence at trial will also show that not only does ANDREA STEWART

attack CATHERINE BROWN for her past association with Umar Johnson but also in

retaliation for CATHERINE BROWN’s team making reports to Governmental

Agencies concerning what they felt was the harassment of Pan Africans via YouTube

videos (which included the AFW). ANDREA STEWART also attacked CATHERINE

BROWN, in online postings within this past year, in retaliation for her participation in

an investigation against Lenon Honor, as CATHERINE BROWN had cooperated with

the investigation.

       Evidence at trial will also be presented to also show that ANDREA STEWART

has targeted CATHERINE BROWN specifically so that ANDREA STEWART, her

affiliated internet trolls, and the AFW have leverage to attack CATHERINE BROWN’s

businesses, as ANDREA STEWART and the aforesaid have attacked the businesses

and reputations of other females who are associated with Umar Johnson. Additional

evidence to be presented at trial will show the connection between ANDREA

STEWART and defendant DONALD MURRAY, who has in online or internet postings



                                                                                       45
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 46 of 105




in this past year has pointedly inferred actual threats to CATHERINE BROWN’S life

on several occasions. Evidence will include YouTube videos, snapshots and emails

to Newark Police Department.

     During the month of February, 2022, ANDREA STEWART posted a video

stating that CATHERINE BROWN was online impersonating someone else (using

someone else’s photo as her own). This accusation posted by this defendant is

entirely false, and it implies to ANDREA STEWART’s thousands of subscribers and

“staunch” supporters that CATHERINE BROWN is involved in the YouTube

controversies and false narratives that these content creators foment to attack the

Petitioner (based upon the other actors’ false accounts impersonating CATHERINE

BROWN). Hence, the defendant STEWART and her affiliates ignore CATHERINE

BROWN’s attempt to have these attacks desist and persist with the progressive and

intensely upsetting cyber stalking.

      Additionally, if CATHERINE BROWN’s picture is not her own and she is

posing as someone else; that would be online impersonation, which is a crime, and

the defendant STEWART and her affiliates’ accusing Petitioner of same are falsely

and publicly accusing Petitioner of committing a crime – further damaging and

upsetting and defaming your Petitioner, further causing emotional distress to her.

    In this same video posted during the month of February 2022, to further incite

her followers against CATHERINE BROWN, the Defendant ANDREA STEWART

gave an inaccurate synopsis of the legal proceedings, where Defendant ANDREA

STEWART stated that the FEDERAL COURT had “cleared her” of any criminal

activities concerning herself, and further implied to her viewers that CATHERINE



                                                                                      46
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 47 of 105




BROWN’s filings against ANDREA STEWART were false as they accused

STEWART of threatening Petitioner with violence.

This is a false statement by STEWART, as Petitioner has instead claimed that

ANDREA STEWART instigates (incites)violence (as proven in the video mentioned).

     Defendant STEWART is using this lawsuit to incite further cyber

attacks upon CATHERINE BROWN (as with other Defendants in this case), in this

February, 2022 video, ANDREA STEWART misrepresented the entire basis of the

filing to her viewers. ANDREA STEWART led her viewers to believe that

CATHERINE BROWN never claimed to state that “White Supremacists” were

covertly behind the attack on the Pan African movement.

    The basis of Petitioner’s the claims against ANDREA STEWART, are that

ANDREA STEWART made and posted on the internet several videos falsely

accusing CATHERINE BROWN of putting in a 911 call to police stating that

Defendant ANDREA STEWART is a White Supremacist; in one of these videos, with

ANDREA STEWART even falsely implying that she’d heard the 911 call and was

able to determine that it was indeed CATHERINE BROWN. It is noteworthy to

mention that in one of Defendant ANDREA STEWART’s online posted videos

(unrelated to the Plaintiff but very important to the case), Defendant ANDREA

STEWART actually corroborated claims made by the Plaintiff here: that these online

content creators get paid in cash apps to target, harass, cyber stalk, invade the

privacy of (and post private information on YouTube) to publicly humiliate, incite

violence against and physical threats (including physical violence).




                                                                                     47
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 48 of 105




      In this February, 2022 online posted interview, Defendant ANDREA STEWART

falsely accused CATHERINE BROWN of a sex crime: being involved in the passing

around of porn pictures featuring what is allegedly content creator’s (Lenon Honor’s)

anus. Defendant STEWART has posted this false and inciteful accusation against

Petitioner in numerous live online appearances over the past several months on her

YouTube Channels, and in broadcasts involving her affiliated YouTube personas, as

well as in comments left in other internet channels or sites. This is particularly

troubling to the Petitioner because these accusations are false, and damaging to

Petitioner as the subject, Mr. Lenor Honor, has tens of thousands of very dedicated

and emotional online followers and adherents, and any one of them could be incited

to commit violence against the Petitioner given the high emotional temperature of the

racially based disputes and disagreements involving Mr. Honor, and his followers,

and their perceived “enemies”, for which defendant STEWART has hade great efforts

to have Petitioner declared an enemy of Mr. Honor and his followers. Petitioner

reasonably believes that these online attacks, the coordinated attacks from other

defendants and affiliates, the ability of defendants to locate and find the Petitioner,

and the emotional dedication of certain persons to potentially act out to physically

violate Petitioner so they chose to do so, create real and true concern for the

Petitioner here for her life and safety. As it is, Petitioner relocated from Delaware to

Louisiana to escape what she testified to in the December, 2021 Hearing was real

and perceived threats to her health and safety, and has taken great care and

recitance in attempting to conceal her actual new address and location from those




                                                                                           48
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 49 of 105




that may seek to attack her physically for retaliation of those false postings and

aminus created by defendant STEWART and others created against her here.

      This false accusation that ANDREA STEWART has repeated made against

CATHERINE BROWN has injured CATHERINE BROWN as she faced additional

online and offline harassment and threats based on ANDREA STEWART’S

statements. There is no doubt that ANDREA STEWART has targeted CATHERINE

BROWN for cyber attacks (as she’s done others in the past who’d faced years long

cyber attacks and accusations of criminal activities and sexually humiliated by

ANDREA STEWART via YouTube videos). Proof of the previous statement is evident

as Andrea Stewart peacefully chats as moderator in chatrooms with the content

creators who were actually responsible for passing alleged pictures of Lenon Honor’s

anus (Plaintiff will produce evidence of ANDREA STEWART appearing in a “Good

Guy” affiliated channel (Defendant JONTE MILLER’s channel) with online

defendant/aligned actor “Ghost” aka “TCTV” on that internet Panel. Additional proof

that ANDREA STEWART has maliciously targeted CATHERINE BROWN (a

YouTube chatroom viewer only) is that, to date, ANDREA STEWART does not incite

violence and attacks and contempt against the actual alleged paramour of Lenon

Honor (another person unrelated to this litigation) who is believed actually

responsible for providing these content creators with pictures claimed to be of Lenon

Honor’s private parts.

       Defendant ANDREA STEWART instead falsely and knowingly targeted

CATHERINE BROWN, using defamatory speech and slander to incite violent threats

against, hatred and harassment against Petitioner. Andrea Stewart has managed to



                                                                                     49
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 50 of 105




keep the videos on YouTube where she fabricated lies targeting CATHERINE

BROWN, as well as perpetuate the fabrications as ANDREA STEWART, where

YouTube, despite complaints from Petitioner, have allowed continued postings by

this defendant as her “freedom of speech”. YouTube then sent emails to

CATHERINE BROWN (upon her complaints to them seeking relief) stating that they

are not in position to litigate defamation; that the court must decided defamation.

Therefore, Petitioner will seek a decision of this Court, as to whether or not these

potentially inciteful and damaging videos will be removed.

     To date, CATHERINE BROWN has never even seen those pictures. To

date, there is not one email trace of CATHERINE BROWN ever receiving those

pictures. To date, there is not one shred of evidence that CATHERINE BROWN

participated in the session where those pictures where displayed openly on

any platform for her to see them. In videos to be presented at trial (per ANDREA

STEWART herself) these pictures were shown in a Discord (a platform other than

YouTube). Discord records can be pulled that CATHERINE BROWN has never

participated in any Discord session, ever. Nonetheless, defendant STEWART

continues posting band commenting accusations of the Petitioner seeking to

humiliate and damage Lenor Honor, solely to created hatred and potential attacks –

both physical and online – against the Petitioner.

     There is no doubt that defendant ANDREA STEWART has targeted

CATHERINE BROWN for cyber attacks, similarly to STEWART’s previous online

attacks upon others where she has made public online accusations of criminal

activities and sexually humiliating postings. The threats to CATHERINE BROWN’s



                                                                                       50
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 51 of 105




life detailed below are direct results of defamation, slander and libel (including lewd,

obscene and profane false accusations) brought upon by a group of conspired

YouTube content creators, in large part led by ANDREA STEWART. Evidence to be

presented at trial will show that ANDREA STEWART is indeed intertwined with

several of the other defendants. This defendant has in numerous online postings

over this past year has also falsely accused Petitioner of filing false police reports

against herself and other defendants, usually in very race-based and specific

accusations and criticisms of your Petitioner which is totally false.

      These dangerous internet postings by this defendant STEWART pointedly

put your Petitioner at risk from others that could be motivated to injure or hurt

Petitioner with the false belief that Petitioner is intentionally acting to file and injure

Black people by filing false complaints or YouTube removals against certain Black or

Race-Obsessed individual content posters.

      There are additional events and episodes dates involving this defendant

STEWART’s threats, defamation and damaging internet posts involving the

Petitioner. They are as follows:

      On July 22, 2021, per video evidence, this actor has online falsely accused

Petitioner of filing false police reports against herself and other defendants, usually in

specific accusations and criticisms of your Petitioner which are totally false. On July

22, 2021, per video evidence, this actor stated online that your Petitioner had called

911 and stated that online persona “Anti Afro Svengalis” was an Aryan who

harassing others, whereas she is a Black woman, not an Aryan. This is totally false,

as Petitioner had never made no such telephone calls.



                                                                                              51
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 52 of 105




      On July 22, 2021, per video evidence, this actor made defamatory statements

concerning your Petitioner that your Petitioner is not innocent in the criminal situation

concerning TCTV and herself, while at the same time stating that “Anti Afro

Svengalis” has no idea of what’s going on with this situation.

       Per video evidence dated July 4, 2021, this defendant STEWART compelled

another entity, defendant Anti Fraud Warriors LLC, (her registered California LLC

and her internet organization) to state to his viewers that your Petitioner, along with

TCTV filed false charges against a Black man. This again is totally false.

     In email dated June 3, 2021, defendant ANDREA MICHELLE STEWART

made a statement to police regarding Petitioner’s involvement with the criminal

complaint filed against TCTV by Petitioner. This defendant’s statement to police was

filled with false statements regarding Petitioner. This defendant told police that

Petitioner filed false report against defendant ANDREA MICHELLE STEWART with

the Wilmington, Delaware Police. This defendant further also told police that

Petitioner had filed false reports against online posters/trolls or participants AFW and

Lenon Honor. Defendant ANDREA MICHELLE STEWART went on to tell police that

because of Petitioner’s allegations to police that Petitioner CATHERINE BROWN is a

“menace to mankind”.

      In video and public online posting dated October 2, 2021, defendant

ANDREA MICHELLE STEWART admitted that her affiliated “Anti Afro Svengalis” troll

group created and posted false narratives in order to foment vitriol and hatred

against innocent or unsuspecting parties, online participants and comment posters,

and that these trolls did so to create a sense of upset and unrest against disfavored



                                                                                          52
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 53 of 105




persons, such as your Petitioner. This admission by this defendant is consistent with

the events and postings created online to create and continue the vitriol and hatred

directed at your Petitioner online this past year.

       These false, dangerous internet postings by this defendant STEWART

have pointedly put your Petitioner at risk from others, given the heightened emotions

and racial animus over these recent years, where dedicated or imbalanced

individuals could be motivated to injure or hurt Petitioner with the false belief that

Petitioner is intentionally acting to file and injure Black people by filing false Police

Reports and YouTube complaints or YouTube removals against certain Black or

Race-Obsessed individual content posters. Filing false Police Reports is a crime,

and this defendant STEWART is actually defaming your Petitioner in her online

postings, as well as endangering her, by making these public claims against

Petitioner of her committing an actual crime – separate and apart from the

heightened racial emotions of falsely accusing Petitioner of filing false police reports

and seeking to incarcerate Black men for no good reason.

                                              VII.

Defendant DONALD MURRAY

      Defendant DONALD MURRAY is an online actor that has threatened violence

against your Petitioner and others. The defendant, DONALD MURRAY, also known

and broadcasting or commenting online and on YouTube channels as “DON M”, also

known as “DON THE FDMG BOOGIE MAN”, reasonably believed - based upon his

online comments and postings - to be an affiliate of defendant THERESA D.

BRUNSON and/or “TCTV”. In the month of November, 2020, Defendant DONALD



                                                                                            53
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 54 of 105




MURRAY came to the YouTube channel hosted by TCTV alleging that Umar

Johnson owed defendant MURRAY back wages of $3000.00. MURRAY and TCTV

also stated that as a result of the back wages owed, MURRAY was then homeless.

TCTV began a campaign to raise funds to assist defendant MURRAY in his time of

need. Not long after TCTV and DONALD MURRAY saw the money in cash apps

coming to them for this effort, and they then began demanding money from persons

who had not yet donated. Petitioner CATHERINE BROWN was one of those who

had not yet given money to him, and by December of 2020, TCTV had already

started their campaign of making numerous online postings and comments, and in

YouTube broadcasts, comments and accusations sexually humiliating, defaming and

sexually demeaning and mentally abusing Petitioner. Defendant DONALD MURRAY

then also joined in with threats to Petitioner’s safety, sexual humiliation, threats to her

life, defamation and inciting of violence (in concert with the chat trolls led by online

actor SCARLIT). During the month of December 2020, this defendant (along with

TCTV and SCARLIT) began their cyber attack claiming that CATHERINE BROWN

owed DONALD MURRAY the money (presumably owed on behalf of Umar Johnson,

since CATHERINE BROWN had stated that she owned businesses). In many

numerous video clips and chatroom clips posted online and broadcasted

internationally, at the beginning of that month (December 2020) and for nearly the

preceding year, (presumably when DONALD MURRAY’s rent was due), defendant

DONALD MURRAY and TCTV (whether on each other’s channels, on the channels

of other or on their individual channels would cyber stalk, cyber bully and demand

money and resources from CATHERINE BROWN (with DONALD MURRAY even



                                                                                           54
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 55 of 105




threatening her life and the lives and safety of others for money he felt that THEY

owed to MURRAY (presumably owed to him by Umar Johnson). DONALD

MURRAY’s and TCTV’s deleted YouTube channels (content to be subpoenaed from

GOOGLE) are littered with threats of violence, cyber attacks, cyber bullying,

sexualization, sexual humiliation and sexual-involved mental abuse wagered against

CATHERINE BROWN in these numerous and continuing online attacks (motivated at

least in part seeking to extract monetary payments from Petitioner – therefore

Extortion) launched against CATHERINE BROWN for all to see (including family

members and business associates). As these defendants had by now de-humanized

CATHERINE BROWN with false narratives, online impersonation and persistent

cyber stalking, they had no regard for her requests for them to stop.

In an online video posted, broadcast internationally and dated November 7, 2021 (to

be presented at trial), DONALD MURRAY, yet again made an implied threat to kill

CATHERINE BROWN via a rap song on YouTube. In a separate online video

posted, broadcast internationally and dated October 6, 2021, DONALD MURRAY

made a video falsely accusing CATHERINE BROWN of stalking him for information

for Umar Johnson. As incredulous as this statement maybe, there were other entities

and internet chat trolls that were able to build narratives off this. In this video,

DONALD MURRAY stated that CATHERINE BROWN wanted sex from TCTV and

was angry enough to harass, call police and report to YouTube because TCTV would

not have sex with her.




                                                                                       55
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 56 of 105




This fabrication made by TCTV concerning text messages sent to him by

CATHERINE BROWN was later debunked by TCTV’s own attorney. She clearly

stated that these text messages were “business”.

      These false and extortive online postings and attacks upon your Petitioner have

profoundly upset her and threatened her personal peace and safety, forcing

Petitioner to seek related mental health counseling and medical care for upset and

injury related to these attacks, from this defendant as well as the others. This

defendant MURRAY repeatedly hinted threats upon the Petitioner’s physical safety

and her life in video postings. Given the vile nature, the duration and intensity of this

defendant’s online attacks upon her, Petitioner sincerely believes that this defendant

is a real threat to her and her family’s safety and well being, and further, seeks all

appropriate compensation in tort as appropriate for all damages and other awards

found appropriate here.

      Again, Petitioner reasonably believes that these online attacks, the coordinated

attacks from other defendants and affiliates, the ability of certain defendants to locate

and find the Petitioner, and the emotional dedication of certain persons to potentially

act out to physically violate Petitioner so they chose to do so, create real and true

concern for the Petitioner here for her life and safety. Again, Petitioner relocated from

Delaware to Louisiana to in large part to escape the potential physical dangers that

she testified to in the December, 2021 Hearing, which Petitioner believes are real

threats to her health and safety, and she has taken great care and reticence in

attempting to conceal her actual new address and location from those that may seek




                                                                                         56
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 57 of 105




to attack her physically for retaliation of those false postings and aminus created by

defendant MURRAY and others created against her here.



                                             VIII.

Defendant JONTE MILLER

      Defendant JONTE MILLER is an online actor that to Petitioner’s under-

standing has used several aliases, reasonably believed acting in concert with

defendant-aligned actors “THE GOOD GUYS” as well with defendant “SPOT3M

SHOT3M”, in furtherance of their attacks upon and harassment of the Petitioner,

this defendant has acted in furthering these defendants’ and others’ online attacks,

harassment and defamation of the Petitioner per video evidence dated September

29, 2021 and August 20, 2021. Petitioner in good faith believes that this defendant

can and will via Discovery reveal the real names and identities of many heretofore

unnamed defendants using aliases and nicknames, most particularly defendant-

aligned actor “SPOT3M SHOT3M”, also posting as “SPOTEM SHOTEM”. Proof of

his association, affilation and alignment with defendant ANDREA STEWART is

proven by her appearing in a “Good Guy” affiliated channel (Defendant JONTE

MILLER’s YouTube channel), and appearing with other defendant/aligned actors, will

be provided as Discovery in this matter commences upon appearance or service of

process completed here. This defendant was actually served with all previous

Petitions/Complaints in this matter, and has yet to appear. Plaintiff will likely seek a

default judgment against this defendant if her continues to refuse to properly file

responsive pleadings or otherwise appear in this matter.



                                                                                           57
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 58 of 105




                                          IX.

      Defendant THERESA D. BRUNSON, previously dismissed from this matter via

this Court’s ruling in Rec. Doc 43, is re-named as a defendant here, notwithstanding

the Court’s previous findings of lack of Personal Jurisdiction over this defendant in

the context of a Defamation tort analysis, as the Petitioner alleges this for other torts

and acts alleged to have occurred over and within the past year of this filing, which

are in fact continuing torts connected to the previous torts alleged against this

defendant in Petitioner’s previous Petitions/Complaints.

      Petitioner asserts here that this defendant, BRUNSON, presented herself to the

Petitioner as the legal representative of heretofore unidentified online actor “TCTV”,

whose behavior and tortuous acts as alleged here are within the Jurisdiction of this

Court, as having been committed and suffered by the Petitioner within this Court’s

judicial district, and with defendant BRUNSON’s tortuous acts in attempting to

intimidate the Petitioner committed in furtherance of preventing the Petitioner from

seeking relief and redress against those defendants properly within the jurisdiction of

this Court, and with defendant BRUNSON’s tortuous acts as alleged so intertwined

and inextricably connected to the tortuous actions of those other defendants and

affiliated actors who are properly brought into the jurisdiction of this Court via their

particular torts alleged here, and with this defendant BRUNSON have made herself

subject to the jurisdiction of this Court by assisting and abetting those torts caused

and created by those other defendants within the jurisdiction of this Court via

BRUNSON’s purposefully and intentionally having sought to prevent and intimidate



                                                                                           58
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 59 of 105




the Petitioner from seeking redress or mitigation of the harassment and upset caused

to Petitioner by the postings made on the TCTV YouTube Broadcast Channel, which

is conducting business online and broadcasting on and for YouTube or Internet

online broadcast channels, which has within the 18 months, and within the past one

year of this filing, where TCTV has continued in having intentionally engaged in a

continual and ongoing pattern of cyber stalking, harassment, defamation, threats to

your Petitioner’s peace, reputation, life and safety, intentional infliction of emotional

distress and intentionally engaged in other cyber and online harassment, and civilly

tortuous acts committed by herself and against the Petitioner in alignment, both

individually and in alignment with those other defendants as described herein,

causing damage to her in the particulars as alleged herein

      Defendant THERESA D. BRUNSON is to Petitioner’s understanding,

is the attorney for TCTV, who is a heretofore unidentified collaborator with several

defendant-aligned entities (expected to be identified through proper Discovery upon

appearance by certain defendants, as well as third party subpoenas to be issued

here), including “THE GOOD GUYS”, with both entities which have been horribly

aggressive and threatening to Petitioner in numerous degrading, slanderous and

damaging online postings targeting your Petitioner in publicly online broadcasts seen

by thousands od viewers online. On or about June 7, 2021, after the Petitioner’s

complaints to Police authorities and online regulators regarding the threats and

harassment of her by TCTV, your Petitioner received from this particular defendant

an actual written “Cease and Desist” Letter addressed to the Petitioner, instructing

Petitioner that all contact regarding TCTV should be directed to her office, this



                                                                                            59
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 60 of 105




particular defendant THERESA D. BRUNSON asserting that she was the Attorney for

TCTV. This letter was followed up, shortly thereafter, with a telephone conversation

between this defendant and the Petitioner, where this

defendant explicitly warned your Petitioner that her contacting YouTube and

law enforcement to stop the harassment and attacks upon her were examples

of the Petitioner’s “negative behavior” in attempting to “jail Black men”, and

that your Petitioner should cease all such complaints or seeking relief through

those channels.

    These acts by this defendant BRUNSON was in time and substance an

attempt by the defendant THERESA D. BRUNSON to intimidate and scare your

Petitioner into having her to discontinue complaints against TCTV for online

harassment of Petitioner. This explicitly warning and attempt to intimidate your

Petitioner into having her to discontinue complaints against TCTV for his online

harassment of Petitioner, is an act by this particular defendant THERESA D.

BRUNSON to intimidate your Petitioner and in furtherance of these online actors’

illegal and damaging acts against your Petitioner.

     Theresa Brunson told Plaintiff CATHERINE BROWN that she (defendant

Brunson) would be point of contact between Plaintiff and TCTV.

       Defendant Theresa Brunson never rescinded that directive. Theresa

Brunson sent CATHERINE BROWN a “cease and desist” letter amid a criminal

investigation regarding her client and TCTV. The timing of the Cease

and Desist letter is very important to Plaintiff’s claims against TCTV and Theresa

Brunson, as that letter to Petitioner sought to intimidate and prevent Petitioner from



                                                                                         60
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 61 of 105




seeking redress and relief from outside authorities (YouTube, Google, Law

Enforcement) wherever the Petitioner happened to be located, and was not limited to

Delaware or any particular entity or locale. The statements in her defendant

Brunson’s own Memorandum in support of her recently granted Motion to Dismiss

actually supports the Petitioner’s claims regarding this letter. Plaintiff CATHERINE

BROWN clearly stated to Theresa Brunson that she in Louisiana when she received

a photo image of the June 7, 2021 Brunson “Cease and Desist” letter sent to

Plaintiff’s business address. Plaintiff CATHERINE BROWN then sent a follow up

email to Theresa Brunson and police clearly stating that she’d been out of state since

TCTV began the harassment campaign against her. Plaintiff did not even have the

original document to fax to the police (as she’d explained to Defendant Theresa

Brunson during the telephone conversation immediately after June 7, 2021 that

occurred between these principals), and she instead sent the same

photo image that she’d received as she was in Louisiana at the time of the

receipt of this letter - as Petitioner stated to Theresa Brunson.

    It is worth repeating here that TCTV began a campaign of recruiting other online

content creators to harass, criticize and torment or “cancel” Catherine Brown for

going to Law Enforcement for seeking relief from the constant and damaging online

abuse and harassment. This act of defendant BRUNSON seeking to block the

Petitioner seeking relief is an entirely separate and distinctive claim in tort from the

defamation analysis used to dismiss defendant BRUNSON here, without prejudice, in

the Court’s determination that because BRUNSON directed the June 7, 2021 letter to

an Delaware address, it did not seek or intend to damage Petitioner in Louisiana.



                                                                                           61
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 62 of 105




The act of BRUNSON seeking to block or intimidate Petitioner from seeking relief for

her online harassment is not a claim in tort for defamation, but instead a claim of

intentional infliction of emotional distress via intimidation and in further seeking to

enable others in avoiding punishment or accountability or in being prevented from

additional similar acts in the future – again, with BRUNSON using the specter of

“race” and those seeking extrajudicial discussion or redress from offenses committed

by Black men to be then targeted for having the nerve or temerity to offend

BRUNSON and others’ racial sensibilities in seeking official and proper governmental

or corporate relief from abuse and intimidation by Black men. Such behavior by

BRUNSON, and the hyper-racial paranoia and intimidation she boyth explicitly and

implicitly hints upon in her June 7, 2021 letter and subsequent telephone

conversation with the Petitioner, are unacceptable and actionable here in seeking to

silence or limit the remedies available to the Petitioner seeking to mitigate her abuse

suffered and damages.

       Again, defendant WRIGHT began to go from online content creator to content

creator stating and fabricated lies to incite violence, threats and harassment against

CATHERINE BROWN. Defendant Andrea Stewart sent an emailed statement to

police consisting of the same false statements (defamatory statements) she and the

other conspiring content creators were publishing against CATHERINE BROWN.

Andrea Stewart therefore made false statements to police regarding the Plaintiff to

obstruct justice, and then bragged online about her interaction (email) to police in a

live stream conducted by another content creator. At the same time these above




                                                                                          62
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 63 of 105




events involving the content creators were taking place, defendant BRUNSON (an

attorney), acting as a purported representative of tortuous actor TCTV, sent a

“Cease and Desist” letter to Plaintiff CATHERINE BROWN, intended to intimidate

CATHERINE BROWN from further interaction with law enforcement or

Google/YouTube Administration, falsely accused CATHERINE BROWN of being in

violation of state laws for her complaints filed. The harassment that BRUNSON

accused CATHERINE BROWN of (in the June 7, 2021 letter) concerning and the

“business” that BRUNSON described, actually corroborates the Plaintiff’s claims

against TCTV and BRUNSON. When BRUNSON sent this June 7, 2021, TCTV’s

channels had already been deleted by YouTube/Google . Hence, the “business” that

CATHERINE BROWN had with TCTV regarding TCTV’s YouTube channels was

already resolved, but the mission by BRUNSON to limit or intimidate the Petitioner

had not been completed, because the online attacks upon Petitioner were continuing

via other YouTube venues.

    During the month of May, 2021, TCTV in postings online, viewed and followed

by many, which described CATHERINE BROWN’s “negative” behavior, which TCTV

then described as “bad behavior”. TCTV plainly stated that Petitioner’s “bad

behavior” for going to police on a Black man was reason for her life “not worth being

protected” in the Black community. This was a plain signal of potential injury to

Plaintiff from those upset by anyone making complaints to law enforcement about

such things, fears that the Plaintiff takes seriously given the heightened sensitivities

involving police interactions with Black men.




                                                                                       63
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 64 of 105




     Online actor TCTV also stated on many posted online videos (to be presenting

by Plaintiff at and during trial) that he had “cut” communication off with Plaintiff the

month of December, 2020 because she’d been begging him for sexual favors. This is

actual defamation and online sexual abuse caused extreme sexual bullying, sexual

harassment and sexual humiliation to Plaintiff Catherine Brown. This “business” that

defendant Theresa Brunson describes in her motion to dismiss is the same

“business” that Catherine Brown had been saying all along that transpired between

Plaintiff and TCTV; not the sex demands as described by TCTV in numerous videos

and chat rooms. TCTV, instead, used the Plaintiff’s text messages (involving

“business”) to create online posted YouTube videos to spread the narrative that

Plaintiff Catherine Brown was begging him for sex and to “lay down with her” in her

bed. TCTV made numerous online posted videos stating that the “business” text

messages (described by defendant BRUNSON as such) were sexually charged and

that since he did not respond to Catherine Brown’s sexual advancements and

“rejected” Catherine Brown, that she’d filed false police reports against him and

falsely reported him to YouTube for harassment.

Plaintiff will present at trial, from TCTV’s King Talk Entertainment channel (now

deleted), TCTV even posted a thumbnail for a video portraying himself as a

pimp and Catherine Brown as a prostitute. In this video, TCTV made false,

salacious and sexually humiliating statements regarding these text messages

that defendant BRUNSON now describes as “business” between

Petitioner and TCTV. Theresa Brunson herself in her motion and memorandum in

support, has cleared this fabrication that TCTV used as a basis to sexually humiliate



                                                                                           64
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 65 of 105




Petitioner for nine continuous months via YouTube videos, and has also proved that

the “injurious” behavior and “harassment” that (Brunson) has accused Petitioner is

directly related to her going to the police and YouTube with complaints against TCTV

for his extortion, sexualized bullying, sexual harassment, harassment and criminal

defamation. Those are of the actions that got TCTV’s channels deleted (as

BRUNSON has referenced as “injurious” to Black men and TCTV in particular), and

not the text messages sent to TCTV concerning updates regarding documentation

submitted to governmental agencies.

    These false and sexually humiliating videos by TCTV are part of the basis of this

lawsuit, and defendant BRUNSON purposefully intimidated and furthered the threats

to Plaintiff in seeking to limit her ability to defend herself, in order to allow TCTV and

others injure her even more without her seeking help to limit that damage, and

further, BRUNSON’s actions materially increased the upset and damage to the

Petitioner directly. They are interrelated with the other named defendants’ actions

and injuries to the Plaintiff, and therefore provide proper grounding to include

BRUNSON as a defendant in this litigation.

       The June 7, 2021 letter was followed up shortly thereafter with a telephone

conversation between this defendant and the Petitioner, where this BRUNSON

verbally and explicitly warned your Petitioner that her contacting YouTube and law

enforcement to stop the harassment and attacks involving Black men acting to injure

her, were examples of the Petitioner’s “negative behavior” with the Petitioner

attempting to “jail Black men”, and that your Petitioner should cease all such

complaints or seeking relief through those proper channels.



                                                                                         65
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 66 of 105




      These acts by this defendant was in time and substance an attempt by the

defendant THERESA D. BRUNSON to intimidate and scare your Petitioner into

having her to discontinue complaints against defendant TCTV for his/their

online harassment of the Petitioner, as well as to discourage Plaintiff seeking

redress from these defendant actors, or for injuries caused to her by Black

men in general. The defendant Brunson raising the specter of race and

discouraging Plaintiff to take any actions in limiting or stopping the tortuous

acts of any Black man by contacting authorities responsible for stopping such

acts, is an unspoken threat to the Petitioner that in this time of heightened

racial sensitivity regarding crime, punishment and law enforcement, that the

Plaintiff would pay a price from those focused and interested in such matters.

To those paying attention to these issues – Brunson’s letter to Plaintiff and her

words communicated in that telephone call, were plain and threatening – that

the Plaintiff would be targeted for injury if she used these authorities to protect

herself. This explicitly warning and attempt to intimidate your Petitioner into having

her to discontinue complaints against defendant TCTV for his online harassment of

Petitioner, is an in and of itself an act by this particular defendant THERESA D.

BRUNSON to intimidate your Petitioner and in furtherance of those other online

defendant actors’ illegal and damaging acts against your Petitioner.

    Here, Plaintiff asserts that the threats and upset caused by BRUNSON and

those other defendants – sought enabled and furthered by BRUNSON – are

continuous and ongoing, are interrelated to both previous and continuing torts

committed by the online actor defendants and are extremely damaging, hurtful and



                                                                                         66
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 67 of 105




are upsetting here health and peace – which is causing her on a daily basis upset

and medical injury that is palpable given her medical treatment directly made

necessary by the defendants’ actions.



                                             X.

Defendant ANTI FRAUD WARRIORS, LLC.

     Defendant ANTI FRAUD WARRIORS, LLC (“AFW”) are actually a registered

California limited liability corporation, for which defendant ANDREA MICHELLE

STEWART is the registered Chief Executive Officer (using the same domicile

address as the defendant AFW’s registered address) is reasonably believed by the

Petitioner to include as members or active participants the defendants and aligned

actors MINYANGO TOPKAH, THE ORACLE, TCTV, and others that this defendant

has allowed to use as a platform the well known “AFW” You Tube Channel venue to

engage in their continuing on-line public broadcasts to threaten, harass, upset and

intimidate your Petitioner as described herein on those dates listed in the paragraphs

describing those tortuous and illegal acts of each such defendant and affiliate.

      This defendant-aligned actor AFW boasts in public broadcasts and postings to

be, to Petitioner’s understanding, consisting of multiple members and is a member-

run organization. However, to date, all members known to Petitioner are members

with domiciles diverse from both Louisiana and Delaware – Petitioner’s past and

current domiciles. Petitioner asserts here that these defendant-aligned actors AFW

and The Good Guys often broadcast their threats, videos and intimidation on You

Tube, then attempt to hide or delete evidence of their illegal acts by putting their



                                                                                       67
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 68 of 105




previously broadcasted videos or posts on “private” settings (once hundreds or even

thousands have seen them) or by deleting them all together.

    Petitioner has saved copies of videos containing many of those activities sought

found actionable here, and in good faith believes that all related video tapes remain

in existence at the YouTube archives, which will be subpoenaed by Petitioner after

commencement of this litigation. The ANTI FRAUD WARRIORS, LLC is not a “fraud”

examining entity; none of its members have ever displayed any licenses to examine

fraud. However, they boast of eradicating the Black Community of “frauds”. Evidence

at trial will show that their primary function is to instigate and incite cyber attacks on

members of the Black Community that they have political or social disagreement

with, based upon ANDREA STEWART’s interpretation of laws, business processes,

business law and jurisdictional codes (of the particular area where the target is

located). Using their “freedom of speech”, Black businesses and Black individuals are

deemed “frauds” by the ANTI FRAUD WARRIORS. Evidence at trial will show that

the “frauds” who the ANTI FRAUD WARRIORS, LLC identify on YouTube are

subjected to (via YouTube videos broadcasted by ANDREA STEWART and Gerald

Palmer) intense and repeated online postings of public humiliation, sexualization,

sexualized bullying, racially based critizisms, being accused of criminal activities,

having their private information concerning job disciplines, job locations, job histories

“exposed” for being “frauds” and “flunkies” of public figure Umar Johnson.

Numerous clips of video evidence (to be presented during trial) will show that the

AFW target primarily Black individuals (private citizens) and Black owned businesses.

Based on their own extrajudicial interpretation of laws, provided by public online



                                                                                         68
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 69 of 105




comments by defendant ANDREA STEWART and others on their YouTube channel ,

the AFW publicly inform as to how they unilaterally choose to dig into the private

lives, affairs and business dealings of their targets (business affairs), family matters

(such as divorce, child support issues, child custody issues) then deem them “frauds”

and begin years long cyber stalking campaigns, published internationally and publicly

via YouTube videos, Twitter, FaceBook and other social media posts.

     The defendant AFW, prompted by defendant ANDREA STEWART, torment

those they determine to be “Black Frauds” on social media including posting private

information, ridiculing them for how they look, sexually humiliating them (even calling

one female “biracial nookie”), sexually bullying them, sexualizing them and broadcast

many other atrocities against these targets. Any attempts the “Black Frauds” make to

defend themselves are used to further attack them, as has been done to the

Petitioner by defendants AFW and STEWART here on numerous occasions over the

past 18 months.

      Evidence to be offered here will show that the ANTI FRAUD WARRIORS,

including these aligned Defendants, actually incite their targets to “defend”

themselves on social media so that these actors can have content for their YouTube

channels and more ammunition to cyber stalk, cyber bully and cyber attack them until

ultimately they are being attacked offline.

      Evidence to be offered here will show that it is clear that CATHERINE BROWN

is one who has been targeted by this group for such acts to be directed towards her,

as well that Gerald Palmer’s position within the ANTI FRAUD WARRIORS, LLC is to

instigate cyber attacks upon others with passive aggressive videos that incite chat



                                                                                       69
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 70 of 105




trolls and other AFW followers. During the month of February, 2022, defendant

Reverand Gerald Palmer, affiliated with the AFW, posted a video that corroborates

your Plaintiff’s evidence to be presented at trial, as she was targeted by the AFW

(specifically defendant ANDREA STEWART) for her participation in a criminal

investigation against Lenon Honor (who was then an AFW leader or affiliate). A

police report was filed against Lenon Honor for cyber bullying a minor child. The AFW

and Lenon Honor then began posting unrelated personal information on videos for

Lenon Honor’s thousands of chat participants to view and comment and ridicule.

During these videos, posted and viewed by thousands of internet viewers, Lenon

Honor made statements that Umar Johnson does not care about his minor child

because he does not pay child support. Individuals, who will remain unnamed in this

filing, made a police report with the Utah police (where Lenon Honor resides) stating

that Lenon Honor had cyber bullied the minor child by making direct statements that

Umar Johnson does not care about her.

      In retaliation for Petitioner’s participation in the above Lenor Honor

investigation, defendants ANDREA STEWART, TCTV and the AFW’s chat trolls

began to spread in publicly online postings a false narrative that CATHERINE

BROWN filed this police report herself. Even though one of the individuals who filed

the actual police reports against Lenon Honor came on YouTube and stated that they

had indeed filed reports, and even Defendant MINYANGO TOKPAH got on a

YouTube channel and stated that the person who filed these reports had flown to

Utah to do so, ANDREA STEWART insisted that CATHERINE BROWN filed the

reports against Lenon Honor. ANDREA STEWART deemed these reports to be false.



                                                                                     70
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 71 of 105




      Petitioner CATHERINE BROWN was never charged with, investigated

for nor otherwise contacted by police concerning any false police report she’d filed.

However, the defendants AFW (led by ANDREA STEWART) publicly claimed the

police report to be false and that CATHERINE BROWN was the one who filed the

report.

      On or about July 4, 2021 during AFW, via defendant REVERAND GERALD

PALMER’s aka “Rev G’s” online public internet live stream, defendant PALMER

described in a public internet broadcast in detail the false police report that

CATHERINE BROWN filed against Lenon Honor (a Black man). Rev G explained to

other ANTI FRAUD WARRIORS and their supporters (during this live stream) that

Lenon Honor and his family spent hours in the police station (during an investigation)

based on this false police report filed by CATHERINE BROWN. Petitioner has never

filed a false police report against anyone, much less Lenon Honor. She has never

been charged nor investigated for filing a false police report on Lenon Honor. Before

deleting his channel (where these defamatory statements were made against

Petitioner, defendant PALMER (“Rev G”) admitted (via post) on Defendant

SlanderGod’s channel that it was TCTV who’d lied and created the publicly broadcast

false narrative that Petitioner CATHERINE BROWN stating that she’d made the false

police report against Lenon Honor. Petitioner intends to offer to the Court video proof

of this statement made by defendant PALMER on online tortuous actor SlanderGod’s

YouTube channel. Interestingly, SlanderGod deleted the post only 10 minutes later.

Therefore, Rev G’s recanting of this statement did not get viewed by everyone. Also,




                                                                                        71
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 72 of 105




this correction was never sent to police in that email that ANDREA STEWART made

accusing CATHERINE BROWN of such.

     Even after making this recantation, during February, 2022, defendant

PALMER posted a video lamenting his “harassment” on YouTube to incite ANTI

FRAUD WARRIORS to cyber bully CATHERINE BROWN by showing a post from

over a year ago where CATHERINE BROWN was clarifying her role in the

investigation (submitting videos to police). This post to SlanderGod’s channel also

shows the intertwining of the online actor “The Good Guys” and the defendant ANTI

FRAUD WARRIORS.

     On or about January 8, 2021, (on yet another YouTube channel deleted by Rev

G), AFW affiliate Gerald Palmer, aka Rev G, along with (then AFW supporter)

“Bernice” falsely accused CATHERINE BROWN of “third partying” a “Cease and

Desist” letter for Umar Johnson and sent this letter to many content creators to

instigate cyber attacks against CATHERINE BROWN by further deeming her a

“fraud”. Any reasonable person would know that an attorney will send a “Cease and

Desist” letter to a group of people based on a third party’s request. The actual

individual who is requesting that certain behaviors desist would be the one who’d

have the relationship with the attorney.

     Petitioner asserts here that these type bizarre and unrealistic rumors are the

type rumors that are perpetuated by this defendant AFW and their affiliated and

coordinated group of content creators and their chat trolls. These rumors incite

(against their targets) ones who are led by emotions (support) for these content

creators without regard for reason or logic. Defendant ANDREA STEWART, herself



                                                                                      72
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 73 of 105




stated in a video (created within this past year, broadcast on YouTube, date not

available here) that the defendant ANTI FRAUD WARRIORS hold on to “information”

about people (private citizens) to be published at a later date; she further stated that

it is when SHE gets ready will she make videos on such “information”. This is a

threat to all disagreeing with or otherwise targeted for harassment and intimidation

and damage by AFW. This is a threat to anyone who ANDREA STEWART and the

ANTI FRAUD WARRIORS target as “frauds” and in need of being “exposed”.



                                             XI.

Defendant ANTHONY OKAFOR

    Defendant ANTHONY OKAFOR, is added as an additional defendant here, a

person reasonably believed of the full age of majority believed located and domiciled

within the State of CALIFORNIA, and more particularly at the address of 2951 Fair

Oaks Ave, Altadena, CA 91001, and also known as using the online persona and/or

conducting business as “SPOT3MSHOT3M” for YouTube or Internet online

broadcast channels, and/or any other businesses or entities operated or participated

in by this person, who personally, or through others affiliated with himself or his

businesses, intentionally engaged in a continual and ongoing pattern of cyber

stalking, harassment, defamation, threats to your Petitioner’s peace, reputation, life

and safety, intentional infliction of emotional distress and intentionally engaged in

other cyber and online harassment, crimes and civilly tortuous acts committed by

himself and against the Petitioner in alignment with those other defendants as

described herein, causing damage to her in the particulars as alleged herein.



                                                                                         73
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 74 of 105




    Defendant ANTHONY OAKAFOR, also broadcasting and posting online as

“SPOT3MSHOT3M”, is an online actor, reasonably believed affiliated or otherwise

aligned with named defendants JONTE MILLER and MINYANGO TOKPAH, as

revealed by online comments, postings and associations witnessed by the Petitioner.

Defendant ANTHONY OAKAFOR is reasonably believed from his online postings

and comments to be affiliated with the “Good Guys”, and is an online “Troll” that is

reasonably believed by Petitioner to be a former ANTI FRAUD WARRIOR affiliated

online “Troll”, as per previous online video evidence viewed and posted by this

person or entity, and which has been viewed firsthand by your Petitioner. At trial,

video evidence of “Rev G” stating that Defendant ANTHONY OAKAFOR was

once a trusted moderator in his ANTI FRAUD WARRIOR chat room). As a troll,

part of Defendant OAKAFOR’s “job” is to keep CATHERINE BROWN’s name

constantly repeated on YouTube public broadcasts in order that her cyber

stalking, cyber attacking, defamation and sexual humiliation can continue to

instigate and incite hatred (in others) so that ultimately she is threatened with

being physically accosted offline, and that her businesses, business

associates and or family members are damaged by being targeted and

“exposed” as this sect of content creators and their trolls have did to other

targets (they believe are affiliated with Umar Johnson).

      In chatroom snapshot dated December 6, 2021, Defendant ANTHONY

OAKAFOR impersonated CATHERINE BROWN and made offensively sexually

explicit comments regarding “big dicks” concerning a female content creator.




                                                                                       74
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 75 of 105




This was not the first time that OAKAFOR impersonated CATHERINE BROWN

(without her permission). In video dated November 11, 2021, OAKAFOR once

again impersonated CATHERINE BROWN and asked that the “link be dropped”

(meaning so that he can get on the panel and speak). When OAKAFOR

appeared on a publicly broadcast YouTube panel, it was then that it was

realized that the account was not the Plaintiff but indeed Defendant OAKAFOR.

This realization did not stop OAKAFOR from continuing to use this account

bearing the name of the Plaintiff while cyber bullying others as not everyone

(who subscribe to other chatrooms) was aware that it was indeed OAKAFOR

but indeed thought that this account was actually the Plaintiff.

     In another publicly broadcast video dated September 23, 2021,

Defendant SHAKIM HARRIS falsely claimed that Petitioner paid his cash apps

for his attack on certain members of the internet troll group, the “Good Guys”.

Petitioner reasonably believes that these cash app payments were sent by

“Spot3m Shot3m” (identified as ANTHONY OKAFOR); where SHAKIM HARRIS

was told via cash app message (by ANTHONY OKAFOR) to announce that the

money came from CATHERINE BROWN rather than himself (Anthony Okafor).

Petitioner further believes that this announcement made by SHAKIM HARRIS

(that she’d given money) was directly intended to incite violence against,

violent threats, cyber stalking and harassment herself.

       This online video poster Defendant ANTHONY OAKAFOR for at least the 16

months has been broadcasting a series of false accusations and narratives against

the Petitioner, repeatedly defaming, humiliating, cyber-bullying, falsely claiming



                                                                                     75
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 76 of 105




Petitioner to be a drug abuser (calling her a “crackhead dog” while harassing her for

going to police for protection against TCTV), a fraud, and attempting to dehumanize

your Petitioner in online postings, such posting which have continued into

September, 2021, often posting reference to Petitioner by her initials, or by

derogatory references that are used repeatedly and known to the circle of online

harassers of the Petitioner to identify her. In video dated July, 11, 2021, this actor

was hailed as the “best troll in the sector” by one of the “The Good Guys” founders,

and is reasonably believed affiliated with the entity “The Good Guys”, and is believed

a main affiliate or “troll” acting in concert with the “The Good Guys” in harassing,

defaming and threatening your Petitioner. Per chat room comments by himself and

others, personally witnessed by the Petitioner and in her saved evidence and video

evidence, this defendant-aligned anchor has multiple accounts to harass and cyber-

bully others online and namely your Petitioner.

        This defendant is alleged here to have intentionally engaged in a continual

and ongoing pattern of cyber stalking, harassment, defamation, threats to your

Petitioner’s peace, reputation, life and safety, intentional infliction of emotional

distress and intentionally engaged in other cyber and online harassment, crimes and

civilly tortuous acts committed by himself and against the Petitioner, in alignment with

those other defendants as described herein, causing damage to Petitioner in the

particulars as alleged herein and below;

                                              XII.

Defendant ORACLE THE VINTAGE GARDEN® SINCE 2015




                                                                                         76
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 77 of 105




      Defendant ORACLE THE VINTAGE GARDEN® SINCE 2015, (“THE

ORACLE”) a business entity, with the owner or actual actor injuring the Petitioner

unknown at this time, but reasonably expected to be properly identified as Discovery

commences and certain defendants are made to appear in this litigation. This

defendant is advertized in the Texas publication “Merchants’ Circle” as a Texas

business, presumed here owned by a Texas resident of the full age of majority,

reasonably believed via business advertisements and online postings to be located

and domiciled within the State of TEXAS, and more particularly at the address of

2800 Peavy Rd, Apt 1145, Dallas, TX 75228

      For purposes of this litigation, this defendant is known as or conducting

business as “THE ORACLE”, on or for YouTube or Internet online broadcast

channels, and/or any other businesses or entities operated or participated in by this

person, who personally, or through others affiliated with this entity or affiliated

businesses. Defendant THE ORACLE is an online actor, either individual or entity,

Petitioner reasonable believes, by internet broadcasts and postings by this defendant

is an African-American female, who has repeatedly attacked and defamed your

Petitioner, by name, spreading Race-Based attacks upon her intending to incite

hatred of Petitioner by falsely claiming that the Petitioner targets and falsely attempts

to have defendant TCTV reported and removed from continued internet attacks and

threats against the Petitioner. Petitioner reasonably believes, from defendant-aligned

actor’s own postings and comments, that this actor is previous violent felon, who is

very virulent and aggressive in attacking your Petitioner online. This defendant once

continuously posted attacks upon your Petitioner online continuously for five hours, in



                                                                                       77
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 78 of 105




very profane and explicit race and sexually-based terms for going to YouTube and/or

the law enforcement authorities about the tortuous attacks upon her by defendant

TCTV. In starkly racial terms, this defendant-aligned actor has repeatedly attacked

Petitioner online for being “a double agent” or betrayer of her African-American race.

The information regarding the identity of this user will be discovered via

subpoena to GOOGLE as will the deleted harassing videos she’s made to push

false narratives against Plaintiff and cyber stalk Plaintiff.

      Defendant-aligned actor THE ORACLE is affiliated with the YouTube

Channel of “Good Guys” and former “Good Guy” either individual or entity, and

Petitioner reasonable believes, by internet broadcasts and postings by this

defendant-aligned actor that she is an African-American female, who has repeatedly

attacked and defamed your Petitioner, by name, spreading Hate-based attacks upon

her intending to incite hatred of Petitioner by falsely claiming that the Petitioner

targets and falsely attempts to have defendant-aligned actor TCTV reported and

removed from continued internet attacks and threats against the Petitioner.

Petitioner reasonably believes, from defendant’s own postings and comments, that

this actor is previous violent felon, who is very virulent and aggressive in attacking

your Petitioner online.

       On or about March 13, 2021, speaking on the panel of one of TCTV’s now

deleted channels, this defendant-aligned actor THE ORACLE once, continuously

waged attacks upon your Petitioner online for five hours, in very profane and explicit

race and sexually-based terms for going to YouTube and/or the law enforcement

authorities about the tortuous attacks upon her by TCTV. In starkly racial terms, this



                                                                                         78
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 79 of 105




defendant-aligned actor has repeatedly attacked Petitioner online for being “a double

agent” or betrayer of the Pan-African ethnic group.

      These dangerous internet postings by THE ORACLE also puts Petitioner at

risk from others that could be motivated to injure or hurt Petitioner with the false belief

that Petitioner is intentionally acting to file and injure Black people by filing false

complaints or YouTube removals against certain Black or Race-Obsessed individual

content posters.

      These dangerous internet postings by this defendant-aligned actor also puts

Petitioner at risk from others that could be motivated to injure or hurt Petitioner with

the false belief that Petitioner is intentionally acting to file and injure Black people by

filing false complaints or YouTube removals against certain Black or Race-Obsessed

individual content posters.

        This defendant is alleged here to have intentionally engaged with

other defendants in a continual and ongoing pattern of cyber stalking, harassment,

defamation, threats to your Petitioner’s peace, reputation, life and safety, intentional

infliction of emotional distress and intentionally engaged in other cyber and online

harassment, crimes and civilly tortuous acts committed by himself and against the

Petitioner, in alignment with those other defendants as described herein, causing

damage to Petitioner in the particulars as alleged herein and below;



                                              XIII.

Defendant REVEREND GERALD PALMER




                                                                                           79
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 80 of 105




     Defendant REVEREND GERALD PALMER, is reasonably believed here to be

an ANTIFRAUD WARRIOR member, of the full age of majority, domiciled within the

State of Missouri, at 8214 E 72nd Street, Kansas City, MO 64133, and more

particularly also known as or posting online or conducting business as”Rev G” and/or

“REV G MAKES MUSIC”, on or for a YouTube or Internet online broadcast channel

(this defendant is, due to his online comments and postings, reasonable believed to

be an defendant ANTI FRAUD WARRIOR, LLC member or affiliate), who has

personally and through defendant AFW has intentionally the continual and ongoing

pattern of cyber stalking, harassment, defamation, inciting threats to Petitioner’s life

and safety, and other cyber and online harassment, such crimes and civil tortuous

acts committed by those defendants as described herein. Some episodes of these

tortuous acts by this defendant include the following:

      During the month of February 2022, Gerald Palmer, acting as defendant ANTI

FRAUD WARRIOR’s “front man” or affiliated actor, posted a video that corroborates

your Plaintiff’s evidence to be presented at trial. She was targeted by the ANTI

FRAUD WARRIORS, LLC

      On or about July 4, 2021 during AFW, via defendant REVERAND GERALD

PALMER’s aka “Rev G’s” online public internet live stream, defendant PALMER

described in a public internet broadcast in detail the false police report that

CATHERINE BROWN filed against Lenon Honor (a Black man). Rev G explained to

other ANTI FRAUD WARRIORS and their supporters (during this live stream) that

Lenon Honor and his family spent hours in the police station (during an investigation)

based on this false police report filed by CATHERINE BROWN. Petitioner has never



                                                                                       80
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 81 of 105




filed a false police report against anyone, much less Lenon Honor. She has never

been charged nor investigated for filing a false police report on Lenon Honor. Before

deleting his channel (where these defamatory statements were made against

Petitioner, defendant PALMER (“Rev G”) admitted (via post) on Defendant

SlanderGod’s channel that it was TCTV who’d lied and created the publicly broadcast

false narrative that Petitioner CATHERINE BROWN stating that she’d made the false

police report against Lenon Honor. Petitioner intends to offer to the Court video proof

of this statement made by defendant PALMER on online tortuous actor SlanderGod’s

YouTube channel. Interestingly, SlanderGod deleted the post only 10 minutes later.

     Therefore, defendant PALMER’s recanting of this statement did not get viewed

by everyone. Also, this correction was never sent to police in that email that ANDREA

STEWART made accusing CATHERINE BROWN of such.

     Even after making this recantation, during February, 2022, defendant

PALMER posted a video lamenting his “harassment” on YouTube to incite ANTI

FRAUD WARRIORS to cyber bully CATHERINE BROWN by showing a post from

over a year ago where CATHERINE BROWN was clarifying her role in the

investigation (submitting videos to police). This post to SlanderGod’s channel also

shows the intertwining of the online actor “The Good Guys” and the defendant ANTI

FRAUD WARRIORS.

       On or about January 8, 2021, (on yet another YouTube channel deleted

by Rev G), AFW affiliate defendant PALMER, aka Rev G, along with (then AFW

supporter) “Bernice” falsely accused CATHERINE BROWN of “third partying” a

“Cease and Desist” letter for Umar Johnson and sent this letter to many content



                                                                                      81
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 82 of 105




creators to instigate cyber attacks against CATHERINE BROWN by further deeming

her a “fraud”.

        This defendant is alleged here to have intentionally engaged in a continual

and ongoing pattern of cyber stalking, harassment, defamation, threats to your

Petitioner’s peace, reputation, life and safety, intentional infliction of emotional

distress and intentionally engaged in other cyber and online harassment, crimes and

civilly tortuous acts committed by himself and against the Petitioner, in alignment with

those other defendants as described herein, causing damage to Petitioner in the

particulars as alleged herein and below;

                                             XIV.

      Defendant-aligned actor TCTV is an online actor, either individual or entity,

that to Petitioner’s understanding has used several aliases, including “ANTI-FRAUD

WARRIOR” YouTube Channel, and/or “TCTV/TCTV 2.0/KING TALK ENTER-

TAINMENT/GOOD GUY”. This is the defendant-aligned online actor that defendant

THERESA D> BRUNSON sought to intimidated and prevent the Petitioner from

additional reporting to law enforcement or corporate operators of YouTube after the

Petitioner’s initial attempts to estop or mitigate the intensely damaging YouTube and

online attacks against her by this and other actors. Petitioner reasonably believes

that this defendant-aligned actor is a dangerous or felon since he was a juvenile, as

stated in his online posted videos. This defendant-aligned actor brags online that he

is a contemporary “pimp” having fathered numerous children and multiple unwed

mothers, and repeatedly makes unsolicited and unwelcome sexually explicit offers




                                                                                       82
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 83 of 105




and insults to your Petitioner, despite claiming to be currently married – again as

stated in online posted videos.

      Petitioner reasonably believes, from this defendant-aligned actor’s online

postings and hints and comments contained therein, that he is affiliated or paid to

make such attacks and harassment of your Petitioner by others, most likely

defendant TCTV, given his comments that he has been paid to harass and defame

Petitioner online. Petitioner has video evidence that the certain content creators get

PAID to “go after” targets online, and this defendant-aligned actor’s postings give

suspicion and support to Petitioner’s belief involving this defendant-aligned actor

being paid to harass and upset her, This defendant has also threatened to continue

to harass and attack and upset your Petitioner unless she agreed to give him money,

which is extortion and intimidation of your Petitioner in violation of both federal and

state law. Some incidents involving this defendant include: During the December

2021 hearing, CATHERINE BROWN testified that “TCTV” is this defendant is primary

culprit of this entire situation so that he could “get in on the cash app game”, as he

phrases it. Proof of this previous statement is proof in video dated on or about

September 3, 2021 (to be presented at trial), a defendant-aligned actor known as

“TCTV”, an individual or multi-individual group entity, admitted (in his “tell all” video)

that he was approached by an “opp”(an ANTI FRAUD WARRIOR or ANTI FRAUD

WARRIOR supporter). He went to admit that the “opp” (an AFW) did not disguise

themselves but clearly let TCTV know that he was indeed an “opp” (AFW). TCTV

further to state that this “opp” (AFW) began paying him money to “start beef” with

others. TCTV stated that he (TCTV) came into the “cash app game” late (more



                                                                                          83
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 84 of 105




specifically TCTV stated that he’d came into the “cash app game” in December

2020). This date is very important in that December 2020 as this is the month that

TCTV began to spread false narratives to sexually humiliate CATHERINE BROWN,

demand money from CATHERINE BROWN (or she’d be cyber attacked), instigate

threats upon her life by DON M (for money and for “supporting the wrong one”

meaning Umar Johnson).

       In a publicly broadcast video dated February 2022, while speaking on behalf

of Defendant TCTV (by his name TCTV), Defendant addressed ANDREA STEWART

and clearly stated that “THEY” (ANDREA STEWART and the ANTI FRAUD

WARRIORS) were responsible for the filing of this lawsuit and that “THEY” should

leave herself (TANISHA WRIGHT), TCTV and other mentioned defendants “out of it”.

This statement (on this video to be presented at trial) corroborates what TCTV said in

the September 3, 2021 video.

        On or about May 19, 2021, a defendant-aligned actor known as “TCTV”, an

individual or multi-individual group entity, explicitly stated in a publicly broadcast

online video that Petitioner’s life “should not be protected within the black community”

for her allegedly reporting to law enforcement this defendant-aligned actor’s

attempted extortion, harassment and sexualized bullying of Petitioner.

      Per video evidence, specifically dated May 19, 2021, and also on July 22,

2021, this defendant-aligned actor participated in publicly broadcast online panels

and encouraged and instigated others to harass harassment and makes defamatory

comments against your petitioner because she exhausted all other resources, hence

sought police protection to have him stop harassing her and putting her safety at risk.



                                                                                         84
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 85 of 105




TCTV posts harassing comments and defamatory statements harassing and

threatening your Petitioner under the name “Ghost” as well as under the name “Good

Guy”, and from his statements as well as other statements and comments of others,

claims and is asserted here to have dozens of aligned and affiliated internet actors

additionally posting threats, defamatory statements and online intimidation of your

Petitioner.

     On May 24, 2021, TCTV once again sexually bullied Petitioner when in a

publicly broadcast online video online panel with defendant “TPRI”, defendant-

aligned actor TCTV stated that Petitioner was interested in “cyber dick” (from him).

This accusation was proven to be false when this defendant’s own attorney stated via

Motion to Dismiss that CATHERINE BROWN’s interaction with TCTV was “business”.

On many occasions, TCTV stated that the text messages Petitioner had sent to him

(updating him on the documentation that he eventually lied and said that I never

presented) were actually text messages of Petitioner asking this defendant for sex,

and that he had rejected Petitioner. All of this is untrue, embarrassing and defaming

of your Petitioner.

      Petitioner believes in good faith that these harassing postings, insults, ridicule

and threats made to her by defendant-aligned actor TCTV are coordinated by the

several defendants due to postings and comments made by these defendants and

defendant-aligned actors, and that these threats pose real dangers to herself and

family, as well as her business associates and their families. Petitioner has

personally endured and witnessed ongoing threats, insults and defamation posted

online by defendants and defendant-aligned actor TCTV, Poetik Flakko, and their



                                                                                       85
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 86 of 105




affiliates, and others in recent months, and is able at any hearing able to provide to

this Court and law enforcement copies of videotape evidence of the online

broadcasts by these and other defendants that have resulted in the defamation,

sexual harassment, threats and false narratives against your Petitioner, including an

episode where on or about March 8, 2021, the online YouTube channel “Vichi” stated

an online group chat full of other similar persons harassing your Petitioner the

following: “Where is Catherine Brown? I (Vichi) brought SKOL (chewing tobacco) so

that we can all spit on her”. This level of hatred was so heated within this group, and

was palpably so intense, that the Petitioner was profoundly upset and scared that

these threats would metastasize into larger more dangerous threats to her.

     On July 22, 2021, as memorialized in saved video-taped posted online and

publicly YouTube broadcasts, defendant TCTV, also known as GOOD GUY,

also known as Ghost, made additional false and harassing video broadcasts

targeting your Petitioner, implying that a false and baseless Police Report was filed

by your Petitioner against this defendant TCTV, and further went on to state that he

was “cleared of all wrongdoing (this is false, as Petitioner does not reasonably

believe this defendant to have been cleared of the complaints brought against him by

her for online harassment and defamation). Petitioner has available an Email from

the investigating officer stating that the police did not have enough evidence to

subpeona a search warrant for the videos (that had been deleted) where Defendant

DONALD MURRAY and TCTV had been demanding money (support) from

CATHERINE BROWN while DONALD MURRAY went as far to threaten harm if

money was not given to him.



                                                                                         86
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 87 of 105




      This posting was publicly broadcast on the internet by TCTV, in order to

purposefully foment hatred and additional harassment of your Petitioners by others

affiliated or sympathetic to these actors, as well as his harassments and previous

race-based accusations made against the Petitioner, and this posting led to

additional threats and online harassment against your Petitioner.

      Per video evidence on July 22, 2021, your Petitioner went to an online

comment panel to inform “Ghost” and the viewers that she’d exhausted all efforts to

have “Ghost” desist his harassment, defamation, sexualized bullying and intimidation.

Your petitioner clearly stated to “Ghost” that all of her efforts resulting in more

sexualized bullying by “Ghost” (TCTV). In YouTube broadcast video dated July 22,

2021, in efforts to intimidate your Petitioner for going to police, actor “Ghost” stated to

your Petitioner that his name nor channel name should be on no police reports.

     Per video evidence of a public YouTube internet broadcast, on October 3, 2021,

defendant-aligned actor TCTV harassed Petitioner with a sexually explicit term for

going to police on him. During the course of intimidating a witness involved in the

case, TCTV said, “Fuck that Bitch Catherine”.

     In a video public broadcast dated, June 24, 2021, TCTV and his lead affiliated

online poster (troll) by the alias name “Spotem Shotem” identified as ANTHONY

OKAFOR, stated on the TCTV’s “Good Guy” panel that their targets victim(s) must

pay in cash apps to be “caked for”. TCTV admonished content creators who “cape for

free”. The term “caped for” simply means that targeted individuals should cash app

content creators in order to be protected from harassment by the content creators

and the trolls.



                                                                                        87
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 88 of 105




       On July 13, 2021, defendant-aligned actor TCTV, reasonably believed here a

convicted felon, showed just how violent he is and what a danger he poses to who he

declares his enemy (male or female), as TCTV posted online videotape of himself

going to someone’s house to have a physical altercation with this person over an

argument they’d had on YouTube. TCTV’s online postings of numerous false

narratives and accusations against the Petitioner CATHERINE BROWN to have her

attacked, cyber-bullied and harassed for not giving him money. This memorialized by

saved video evidence dated September 8, 2021.

       On May 12, 2021, TCTV, per video evidence and email evidence, falsely

stated online that Petitioner had provided content creator (defendant) SHAKIM

HARRIS with information regarding an Anti Fraud Warrior rape of a student. On May

24, 2021, again per video evidence, Petitioner in comments online asked Shakim

Harris about this lie told by TCTV. Shakim Harris then online stated that he and

TCTV got into an argument concerning this lie and that TCTV was “on his own” with

spreading that false narrative.

        This defendant-aligned actor is alleged here to have intentionally engaged

in a continual and ongoing pattern of cyber stalking, harassment, defamation, threats

to your Petitioner’s peace, reputation, life and safety, intentional infliction of emotional

distress and intentionally engaged in other cyber and online harassment, crimes and

civilly tortuous acts committed by himself and against the Petitioner, in alignment with

those other defendants as described herein, causing damage to Petitioner in the

particulars as alleged herein and below;




                                                                                         88
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 89 of 105




                                              XV.

       Defendant-aligned actor “SCARLIT” is an online actor, either individual or

entity, that to Petitioner’s understanding has used several aliases, and has for an

extended period in the past twelve months has engaged in a series of harassing and

defamatory online postings and broadcasts which are illegal and tortuous, and which

the Petitioners seeks to have this Court find actionable here. Some of these episodes

and events as follows:

     Per snapshot evidence dated, February 22, 2021, on defendant-aligned actor

TCTV 2.0 (now deleted channel), online poster and Good Guys affiliate “SCARLIT” is

professed by comments and postings to be a “consort” of TCTV, also known as

“Good Guy” or “Ghost”. The information regarding the identity of this user will be

discovered via subpoena to GOOGLE as will the deleted harassing posts she’s made

to push false narratives against Plaintiff.

      This defendant-aligned actor often identifies as a female online poster claiming

to be “Queen of His (TCTV’s) Chat”, but at other times uses alternative male or

female identifiers when posting online.

     Per email evidence dated March 11, 2021, “SCARLIT” uses numerous accounts

for which she trolls others to incite online cyber attacks against them or else keep the

attacks going, and with additional video evidence dated, August 22, 2021, reveals

that actor SCARLIT for months posed as a married male with a wife and children that

he’d speak of fondly. She’d had many (including TCTV) deceived into believing that

she was, in fact, this male. It was not until months later, during the month of August,




                                                                                      89
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 90 of 105




that SCARLIT admitted (in live chat session) that for all of this time, she’d been

posting as this male, “Lorenzo Thomas”, a person believed here not to exist.

     Defendant-aligned actor SCARLIT frequently dated May 24, 2021 and

September 1, 2021, through Petitioner’s observations and firsthand knowledge,

creates other online accounts where this actor pretends to be the Petitioner, where

this actor harasses and antagonizes other persons online falsely claiming to be the

Petitioner, in order to incite hatred, revenge and violence by others against your

Petitioner.

    This activity is dangerous to your Petitioner, as such false postings by this actor

can reasonably create a climate and animus against your Petitioner which leads to

additional cyberbullying, threats, defamation, damage to her business endeavors and

those affiliated with her, as well as potential actual violence against your Petitioner.

Petitioner is in possession of video tape and printed internet postings that support

most of her attestations made above, as well as similar evidence regarding other

additional threats and postings by these defendants and defendant-aligned actor

defaming and threatening her, and profoundly upsetting her to the point of medical

injury and treatment, which she intends to seek in the very near future.

        This defendant-aligned actor is alleged here to have intentionally engaged

in a continual and ongoing pattern of cyber stalking, harassment, defamation, threats

to your Petitioner’s peace, reputation, life and safety, intentional infliction of emotional

distress and intentionally engaged in other cyber and online harassment, crimes and

civilly tortuous acts committed by himself and against the Petitioner, in alignment with




                                                                                           90
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 91 of 105




those other defendants as described herein, causing damage to Petitioner in the

particulars as alleged herein and below;



                                      XVI.

     Defendant-aligned actor SLANDERGOD is an online actor, either individual

or entity, that to Petitioner’s understanding has used several aliases, including

“POSITIVELY HATE”. The information regarding the identity of this user will be

discovered via subpoena to GOOGLE as will the deleted harassing posts she’s made

to push false narratives against Plaintiff. This defendant-aligned actor is reasonably

believed by your Petitioner that the “SLANDERGOD” internet postings are a “spin off”

channel of THE GOOD GUYS, and that he was a former affiliate or member of

defendant-aligned actor “The Good Guys”. Petitioner has video evidence that

POSITIVELY HATE’s internet channel was set up specifically for harassment, doxing,

and other related attacks upon other YouTube viewers and other content creators

(whoever they chose to target). The defendant-aligned actor SLANDERGOD boasts

online of having his channel on “Slander Ave.”, and his repeated posts and attacks

upon your Petitioner and others prove this.

       On in a publicly broadcast internet video dated January 2022, Defendant

SLANDERGOD addressed his viewers via Defendant TANISHA WRIGHT where she

informed his viewers and ones interested to where he had been (he has hidden his

channel to where they aren’t able to access it). TANISHA WRIGHT stated that

SLANDERGOD (no anyone else) was scared of that “bitch” CATHERINE BROWN

nor this lawsuit. In a video broadcast dated on or about October 9, 2022, Defendant



                                                                                     91
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 92 of 105




SLANDERGOD hosted a show to interview Defendant DONALD MURRAY where

DONALD MURRAY instructed the trolls in Defendant SLANDERGOD’s chatroom to

“hit his cash app” and then he’d insult CATHERINE BROWN. Presumably the chat

troll in Defendant SLANDERGOD’s chat paid DONALD MURRAY a sufficient

amount of money via cash app because he then began to refer to CATHERINE

BROWN as “psycho bitches and whores”. DONALD MURRAY then left

SLANDERGOD’s channel and went to his own channel and began to cyber stalk and

cyber bully (while defaming CATHERINE BROWN again). His chat was filled with the

chat trolls that were before in SLANDERGOD’s chatroom.

      This defendant-aligned actor has without Petitioner’s permission has used

her picture and posted it online, and has posted online attacks labeling the Petitioner

and her photo with the name label as “nutty bitch”, in order to intentionally harass and

defame her for seeking the protection of police against DONALD MURRAY and

TCTV.

      Per his YouTube broadcast channel named “Positively Hate”, defendant-

aligned actor SLANDERGOD boasts online of having his YouTube channel on

“Slander Ave.”, and his repeated posts and personally harassing and defamatory

attacks upon your Petitioner and others prove this. Per video evidence dated July 16,

2021, this defendant-aligned actor was installed into the “Good Guys” internet troll

group by TCTV. Per snapshot evidence (to be presented during trial), TCTV (while

participating in Defendant JONTE MILLER’s chat) stated that Defendant “SLANDER-

GOD’s” show was a “spin off” of the “Good Guys”. Per video evidence dated

September 8, 2021, this defendant-aligned actor was referred to as a “brother” of the



                                                                                       92
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 93 of 105




“Good Guys” by online personality Poetik Flakko (Defendant MINYANGO TOPKAH).

Poetik Flakko further stated in comments and online posts that he communicates with

Slander God offline which further solidifies the connection between Slander God and

the “Good Guy” founder, Poetik Flakko (Defendant MINYANGO TOPKAH).

      Per video broadcast and evidence dated August 1, 2021, Poetik Flakko, “Good

Guy” founder sometimes hosts Slander God’s channel panel named Positively Hate.

Per video evidence dated May 24, 2021, this defendant-aligned actor has without

Petitioner’s permission has used her picture, and has posted online attacks labeling

the Petitioner and her photo with the name label as “nutty bitch”, in order to

intentionally harass and defame her and humiliate her by being a male referring to a

female as a “bitch”. On May 24, 2021, this defendant-aligned actor, his internet

broadcast chat room members and panel members harassed your Petitioner in

efforts to intimidate her for going to police to seek protection from the torturous act

inflicted upon her by “Good Guys”.

        This defendant-aligned actor is alleged here to have intentionally engaged

in a continual and ongoing pattern of cyber stalking, harassment, defamation, threats

to your Petitioner’s peace, reputation, life and safety, intentional infliction of emotional

distress and intentionally engaged in other cyber and online harassment, crimes and

civilly tortuous acts committed by himself and against the Petitioner, in alignment with

those other defendants as described herein, causing damage to Petitioner in the

particulars as alleged herein and below;

        This defendant-aligned actor is alleged here to have intentionally engaged

in a continual and ongoing pattern of cyber stalking, harassment, defamation, threats



                                                                                          93
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 94 of 105




to your Petitioner’s peace, reputation, life and safety, intentional infliction of emotional

distress and intentionally engaged in other cyber and online harassment, crimes and

civilly tortuous acts committed by himself and against the Petitioner, in alignment with

those other defendants as described herein, causing damage to Petitioner in the

particulars as alleged herein and below;

                                               XVII.

      Defendant-aligned actor GENERAL D is another actor, either individual or

entity, believed to have instigated internet attacks upon Petitioner by others, all

sought stopped and sued for here, and is believed to have paid to the defendant

MINYANGO TOKPAH/ Poetik Flakko to harass Petitioner and to harass others.

This defendant-aligned actor frequently changes his online identity so that he goes

undetected by channel name. Petitioner has possession of video evidence of this

actor stating that he pays Poetik Flakko to host his YouTube Channel. The

information regarding the identity of this user will be discovered via subpoena to

GOOGLE as will the deleted harassing videos she’s made to push false narratives

against Plaintiff and cyber stalk Plaintiff.

       GENERAL D is reasonably believed by Petitioner (per video evidence dated

August 16, 2021) to have instigated internet YouTube broadcasts and comment

attacks upon Petitioner by others, those others named herein and also sought

stopped and sued for here, and is believed (due to this defendant’s online comments

and postings) and to have paid to defendant MINYANGO TOKPAH to harass

Petitioner and to harass others. On May 29, 2021, this defendant-aligned actor

posted comments online that knows “everything” about your Petitioner and has



                                                                                         94
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 95 of 105




posted online repeatedly that he has cyber stalked her with others. Again on May 29,

2021, when your Petitioner asked GENERAL D in an internet comment chat room if

he had doxed others online, GENERAL D and defendant MINYANGO TOKPAH (as

Poetik Flakko) stopped harassing her in that particular chat session and did not reply.

This defendant-aligned actor is believed by Petitioner to frequently change his online

identity so that he goes undetected by channel name. Per video evidence dated

August 16, 2021 this defendant actor stated that he pays defendant MINYANGO

TOKPAH (as Poetik Flakko) to host his channel to harass, intimidate and to “destroy”

the reputations of others, particularly and by name your Petitioner, via YouTube

Video postings by himself and affiliates.

        This defendant-aligned actor is alleged here to have intentionally engaged

in a continual and ongoing pattern of cyber stalking, harassment, defamation, threats

to your Petitioner’s peace, reputation, life and safety, intentional infliction of emotional

distress and intentionally engaged in other cyber and online harassment, crimes and

civilly tortuous acts committed by himself and against the Petitioner, in alignment with

those other defendants as described herein, causing damage to Petitioner in the

particulars as alleged herein and below;

                                            XVIII.

     Petitioner, believes and asserts that the defendants and defendant-aligned

actors here, in their actions to harass, threaten, ridicule, defame and intentionally

upset the Petitioner – all as described above - are in violation of several Federal and

State of Louisiana laws, as delineated below, and seeks relief on that basis. Those

laws asserted violated by these actors, and sought determined actionable by this



                                                                                         95
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 96 of 105




Court, include the following:

     US Code 18 Section 2261A:

     Whoever--
     (1) travels in interstate or foreign commerce or within the special maritime
     and territorial jurisdiction of the United States, or enters or leaves Indian
     country, with the intent to kill, injure, harass, or place under surveillance
     with intent to kill, injure, harass, or intimidate another person, and in the
     course of, or as a result of, such travel places that person in reasonable
     fear of the death of, or serious bodily injury to, or causes substantial
     emotional distress to that person, a member of the immediate family (as
     defined in section 115) of that person, or the spouse or intimate partner of
     that person; or
     (2) with the intent--
     (A) to kill, injure, harass, or place under surveillance with intent to kill,
     injure, harass, or intimidate, or cause substantial emotional distress to a
     person in another State or tribal jurisdiction or within the special maritime
     and territorial jurisdiction of the United States; or

     (B) to place a person in another State or tribal jurisdiction, or within the
     special maritime and territorial jurisdiction of the United States, in
     reasonable fear of the death of, or serious bodily injury to--
     (i) that person;
     (ii) a member of the immediate family (as defined in section 115 [1] of that
     person; or
     (iii) a spouse or intimate partner of that person;

     uses the mail, any interactive computer service, or any facility of interstate
     or foreign commerce to engage in a course of conduct that causes
     substantial emotional distress to that person or places that person in
     reasonable fear of the death of, or serious bodily injury to, any of the
     persons described in clauses (i) through (iii) of subparagraph (B); [2] shall
     be punished as provided in section 2261 (b) of this title.

     Section 2261 (B):

     (b) Penalties.-- A person who violates this section or section 2261A shall
     be fined under this title, imprisoned—

     (1) for life or any term of years, if death of the victim results;

     (2) for not more than 20 years if permanent disfigurement or life
     threatening bodily injury to the victim results;




                                                                                      96
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 97 of 105




     (3) for not more than 10 years, if serious bodily injury to the victim results
     or if the offender uses a dangerous weapon during the offense;

     (4) as provided for the applicable conduct under chapter 109A if the
     offense would constitute an offense under chapter 109A (without regard to
     whether the offense was committed in the special maritime and territorial
     jurisdiction of the United States or in a Federal prison); and

     (5) for not more than 5 years, in any other case,or both fined and
     imprisoned.

     (6) Whoever commits the crime of stalking in violation of a temporary or
     permanent civil or criminal injunction, restraining order, no-contact order,
     or other order described in section 2266 of title 18, United States Code,
     shall be punished by imprisonment for not less than 1 year.




                                            XVII.

Additionally, defendants are asserted to be in violations as follows:


     United States Federal Law H.R. 3402:
     (1) Under the Federal Crime, we are preparing to seek Federal legal
     action and this immediate relief: (a) Cyber harassment, Cyber stalking,
     etc. in violation of the Women’s Violence Act, Department of Justice
     Reauthorization Act of 2005, H.R. 3402, titled "Preventing Cyber stalking"
     and numbered as Â§ 113, Â§113(a)(3) provides that Section 223(a)(1)(C)
     applies to "any device or software that can be used to originate
     telecommunications or other types of communications that are
     transmitted, in whole or in part, by the Internet; Cyber-stalking and Cyber-
     harassment laws in violation of the Communications Act, 47 U.S.C. Â§
     223(a)(1)(C) and Â§ 223(h)(1)(B). (b) H.R. 3402 INCLUDES CYBER:
     Slander, Libel and Harassment.


     Under Sec. 113. FEDERAL "Preventing Cyberstalking":
     To strengthen stalking prosecution tools, this section amends the
     Communications Act of 1934 (47 U.S.C 223)(h)(1) to expand the definition
     of a telecommunications device to include any device or software that


                                                                                      97
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 98 of 105




      uses the Internet and possible Internet technologies such as voice over
      internet services. This amendment will allow federal prosecutors more
      discretion in charging stalking cases that occur entirely over the internet.




         Petitioner respectfully asserts here that the defendants’ particular violations of

Federal Criminal Law, and the damages to Petitioner suffered therein, are intentional

inflictions of emotional distress actionable here pursuant to Louisiana Civil Code

Article 2315 – Louisiana’s General Tort Law - as described by Petitioner in this civil

claim for damages is supported by the proposition that while an explicit CIVIL cause

of action for violation of the above-cited Federal statutes do not exist, that the fact

that the torts alleged and brought under state tort law, on the basis of complete

diversity jurisdiction, are also more appropriately brought in this Federal District Court

given the Federal CRIMINAL laws violated by the several defendants and aligned

actors herein creating civil causes of action brought here under State of Louisiana

tort law, and that Complete Diversity between the parties exist here, as well as the

quantum value of Petitioner’s claims against each defendant exceeding the $75,000

statutory threshold necessary for Federal District Court Subject Matter Jurisdiction

here .

                                              XIX.

         Petitioner again respectfully requests that this Federal District Court

accept jurisdiction of her Louisiana state law tort claims on the basis of complete

diversity jurisdiction.




                                                                                          98
   Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 99 of 105




     Nonetheless, the Petitioner prays that in the event that this Court declines to

exercise or maintain jurisdiction here over any defendant that is be found to be non-

diverse to the Petitioner’s domicile state of Delaware, that this Court then REMAND,

or dismiss without prejudice, ONLY those claims involving any heretofore unknown

non-diverse defendant here, and allow the main focus and basis of her litigation

involving her claims for relief and damages to go forward here.

      The defendant individuals and defendant-aligned actors and entities are

asserted here to also be vicariously liable here for any actions of any employees,

aligned persons or persons do directed or motivated by the named defendant

individuals and defendant-aligned actors and entities who act to damage and

otherwise injure your Petitioner, and that her claims and damages directly caused by

this intentional and/or reckless conduct by these individuals and entities were

motivated by actual defendants here as proven.

                                           XX.

      These torts committed by the named defendants and aligned actors, and

fully described above, do rise to the level of extreme emotional abusiveness and are

reasonably presumed to inflict upon Petitioner the actors’ desired injury, and intent of

the defendant/actors to do same, which are actionable here as contemplated by the

Louisiana Supreme Court’s decision in White v. Monsanto Co., 585 So.2d 1205,

1209 (La. 1991) and it’s progeny, and additionally fall into the fact patterns and

circumstances where employers such as the named defendants may be found

vicariously liable to this Petitioner in tort for the acts and offenses committed by any

others named defendant and so motivated by other defendants, with those damages



                                                                                       99
  Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 100 of 105




and liability as contemplated by Martin v. Bigner, 665 So.2d 709, La.App. 2 Cir.

12/6/95, (La. App., 1995)

                                          XVI.

       Petitioner CATHERINE BROWN avers that as a result of the above

described actions of all named defendants, that she has separately suffered loss of

her previous business income and employment/contracted position, loss of income,

humiliation, shame, indignation and psychological injuries, as well as with her

suffering profound emotional damages, medical expenses, lost income and economic

opportunity, all incurred as a direct result of the defendants’ actions and omissions.

      Petitioner further asserts that these acts, committed in a common theme of

defamation, threats, harassment and stalking in violation of both Louisiana state law

and any appropriate civil remedy as per defendants’ violations of Federal criminal

statutes, all of these acts which represent an ongoing common pattern of continuing

torts, which are interconnected and continuing series of torts that are all actionable

here. Further, Petitioner asserts that any such related act or tort violation committed

by any defendant or aligned actor here that occurred MORE than one year prior to

any respective citation or notice in the Petitioner’s original or amending

Petitions/Complaints, that any such filing made outside of Louisiana’s one-year

liberative prescriptive period, are indeed interconnected to those torts and violations

committed within the past one year of the filing of this lawsuit, and that any such

related or similar act found to have occurred more than one year prior to the filing of

this lawsuit, are therefore actionable here pursuant to the state Continuing Tort

Doctrine, as well as the federal Continuing Violation Theory.



                                                                                      100
  Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 101 of 105




                                            XXI.

       Petitioner CATHERINE BROWN makes here her set of claims under all

Louisiana State Laws applicable to such incidences involving victims of criminal

violence, threats, extortion or cyber-stalking, as well as the particular Louisiana Civil

Code Article 2315, which allows civil damages to be legally assessed against the

defendants, or in the alternative, as well as any affiliated individuals or employees, to

petitioner for the acts and omissions, for those individual defendants’ or aligned

actors’ acts, omissions, negligence or intentional acts, and for those responsible to

be held financially accountable for all losses, damages and costs proven suffered by

the Petitioner herein. Petitioner thereby respectfully requests that she be awarded all

damages as may be appropriate under the circumstances, all of the above acts of

negligence were in violation of the laws of the State of Louisiana and applicable

Orleans Parish ordinances, which are hereby pleaded and adopted by this reference

as is set forth at point in extensio. Petitioner prays that in the interest of judicial

economy and consistency, that this federal court exercise it’s discretion in

maintaining it’s jurisdiction over the Petitioner’s state law claims brought here with

these federal question claims, as they involve the interrelated events, facts, parties

and witnesses, and that this Court, as a single finder of fact, should maintain and

assert it’s ancillary, pendant and supplemental jurisdiction here.

                                           XXII.

       Petitioner CATHERINE BROWN avers that as a direct and proximate cause




                                                                                          101
  Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 102 of 105




of the aforementioned acts and omissions by these named defendants and aligned

actors, and any unnamed defendants herein, that your Petitioner has sustained

damages in disability in the following non-exclusive list of particulars:


A. All general and special damages awarded to your Petitioner as appropriate,

   including and for the following:

B. Past, present, and future emotional and mental anguish;

C. Any appropriate costs of relocation or costs related to avoid the threats or

   exposure to injury or damages cited herein;

D. Past, present and future costs of medical care and treatment for Petitioner made

   necessary by defendants’ tortuous acts explained herein;

E. Past, present, and future lost wages, missed work, and damaged job and/or credit

   rating, and missed employment and/or educational opportunities due to lost past

   or future employment;

F. Compensation and any lost earnings, family time, leisure time, or personal rest

   opportunities, and any applicable awards or damages related to the injuries

   suffered by her as proven here;

G. Compensation for Defamation and damage to reputation, as well as future

   business opportunities and/or employment opportunities due to that defamation

   as alleged herein – with each act of publication and dissemination of slanderous

   or defaming statements made by any defendant to any third party being

   actionable and creating it’s own separate tort and damage herein;




                                                                                     102
  Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 103 of 105




H. Loss of reputation, employment prospects, employability, and all other related

   losses as caused by any defendant’s act of publication and dissemination of

   slanderous or defaming statements made by any defendant to any third party;

I. Compensation in both general damages and special damages involving injuries

   sustained by petitioner due to torts against her as to the delineated continuing

   mistreatment, and each and every separate act of any defendant engaging in the

   intentional and/or negligent infliction of emotional distress upon the Petitioner

   here as described above;

J. Any appropriate compensation for defendants’ acts of slander, defamation and

   intentional damage to the reputation and future employability or business efforts

   of your Petitioner;

K. Loss of enjoyment of life, fear of her financial present and future; fear and upset to

   her present and future health, and all damages and losses flowing therefrom;

L. General damages flowing from those losses and injuries cited above;

M. Unpaid wages, earnings, penalty wages and all other statutorily appropriate

   awards or damages

N. Any possible attorney’s fees and all costs of these proceedings as allowed herein

   under any applicable federal or state law;

O. Any possible punitive damages as allowed herein under any applicable federal or

   state law;

P. All other damages and/or costs found reasonable through the rendering of this

   matter.




                                                                                       103
  Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 104 of 105




                                 PRAYER FOR RELIEF

       WHEREFORE, your petitioner CATHERINE BROWN respectfully requests

that the defendants in this matter, listed above, each be served with this Amending

Petition/Complaint, as well as those attached original and earlier amending

Petitions/Complaints, and after all due proceedings be had, there be orders and

judgment from this Court directing all defendants and affiliated actors to discontinue

posting any additional online threats, defamation and harassment of your Petitioner

by each defendant and all affiliated persons or entities, that all existing online threats,

defamation and harassment of your Petitioner by each defendant and all affiliated

persons or entities be removed from view, and there be a judgment in favor or your

Petitioner, and against the defendants, for and awarding to Petitioner all appropriate

damages, costs, and losses suffered by your Petitioner herein, as well as for all costs

of bringing these proceedings, judicial interest from the date of judicial demand, as

well as for any other award or remedy as deemed equitable herein.

                            Sincerely,


                            Dominic N. Varrecchio
                             ____________________________________
                             DOMINIC N. VARRECCHIO. La. Bar No. 19456
                             Attorney for Petitioner
                             1539 Jackson Avenue, Suite 100
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                                                                                       104
  Case 2:21-cv-01844-JTM-JVM Document 47 Filed 04/25/22 Page 105 of 105




                         CERTIFICATE OF SERVICE

    I hereby certify that a copy of the above and foregoing, together with all
related pleadings involved in this filing, have been served upon all parties
and/or their counsel by the CM-ECF electronic filing system for the United
States District Court, as well via actual service of process of the related
amending Petition/Complaint upon those defendants of those items together
with Summons to Appear. Petitioner further has also served all related filings
here via E-mail to all defendants where E-mail addresses are available to
Petitioner and Counsel, as certified and explained in the attached Rule 65
Certification. This 22nd day of April, 2022.



                        Dominic N. Varrecchio
                        _________________________
                          DOMIINIC N. VARRECCHIO




                                                                          105
